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 7                             UNITED STATES DISTRICT COURT
 8                           NORTHERN DISTRICT OF CALIFORNIA

 9

10    KENNETH BLEVINS, derivatively on
      behalf of PALO ALTO NETWORKS,                Case No.:
11    INC.,
12                    Plaintiff,
                                                   DEMAND FOR JURY TRIAL
13           v.
14
      NIKESH ARORA, NIR ZUK, APARNA                VERIFIED SHAREHOLDER
15    BAWA, JOHN M. DONOVAN, CARL                  DERIVATIVE COMPLAINT
16    ESCHENBACH, HELENE D. GAYLE,
      JAMES J. GOETZ, JOHN KEY, MARY
17    PAT MCCARTHY, LORRAINE
18    TWOHILL, DIPAK GOLECHHA, and
      LEE KLARICH,
19

20                           Defendants,

21           and
22
      PALO ALTO NETWORKS, INC.,
23                 Nominal Defendant.
24

25

26
                                           INTRODUCTION
27
           Plaintiff Kenneth Blevins (“Plaintiff”), by Plaintiff’s undersigned attorneys,
28

                              Verified Shareholder Derivative Complaint
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 1
     derivatively and on behalf of nominal defendant Palo Alto Networks, Inc. (“Palo Alto” or
 2
     the “Company”), files this Verified Shareholder Derivative Complaint against defendants
 3
     Nikesh Arora (“Arora”), Nir Zuk (“Zuk”), Aparna Bawa (“Bawa”), John M. Donovan
 4
     (“Donovan”), Carl Eschenbach (“Eschenbach”), Helene D. Gayle (“Gayle”), James J.
 5
     Goetz (“Goetz”), John Key (“Key”), Mary Pat McCarthy (“McCarthy”), Lorraine Twohill
 6
     (“Twohill”), Dipak Golechha (“Golechha”), and Lee Klarich (“Klarich”), (collectively, the
 7
     “Individual Defendants,” and together with Palo Alto, “Defendants”) for breaches of their
 8
     fiduciary duties as directors and/or officers of Palo Alto, unjust enrichment, abuse of
 9
     control, gross mismanagement, waste of corporate assets, for violations of Section 14(a) of
10
     the Securities Exchange Act of 1934 (the “Exchange Act”), and for contribution under
11
     Sections 10(b) and 21D of the Exchange Act against Defendants Arora, Golechha and
12
     Klarich. As for Plaintiff’s complaint against the Individual Defendants, Plaintiff alleges the
13
     following based upon personal knowledge as to Plaintiff and Plaintiff’s own acts, and
14
     information and belief as to all other matters, based upon, inter alia, the investigation
15
     conducted by and through Plaintiff’s attorneys, which included, among other things, a
16
     review of the Defendants’ public documents, conference calls and announcements made
17
     by Defendants, United States Securities and Exchange Commission (“SEC”) filings, wire
18
     and press releases published by and regarding Palo Alto, legal filings, news reports,
19
     securities analysts’ reports and advisories about the Company, and information readily
20
     obtainable on the Internet. Plaintiff believes that substantial evidentiary support will exist
21
     for the allegations set forth herein after a reasonable opportunity for discovery.
22
                                   NATURE OF THE ACTION
23
           1.       This is a shareholder derivative action that seeks to remedy wrongdoing
24
     committed by the directors and/or officers of Palo Alto from August 18, 2023 through
25
     February 20, 2024, both dates inclusive (the “Relevant Period”).
26
           2.       Palo Alto is a Delaware corporation located in California. The Company
27
     operates as a cybersecurity company that offers a platform and services for network
28
                                                   2
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 1
     security, cloud security, security operations, and threat intelligence and security
 2
     counseling. Palo Alto’s platform purports to help secure enterprise users by delivering
 3
     cybersecurity backed by artificial intelligence (“AI”) and automation.
 4
           3.       Prior to the Relevant Period, Palo Alto enhanced its offerings in an effort to
 5
     become a more comprehensive cybersecurity platform by eliminating stand-alone products
 6
     and consolidating point solutions into existing platforms. In so doing, Palo Alto’s
 7
     “platformization” strategy sought to decrease the complexity of dealing with various
 8
     solutions from various vendors.
 9
           4.       Throughout the Relevant Period, the Individual Defendants made a series of
10
     false and misleading statements to investors and the public that failed to disclose: (i) the
11
     unfavorable facts regarding the Company’s platformization efforts; (ii) Palo Alto’s new AI
12
     offerings; and (iii) the strength of customer demand. As a result of the foregoing, Palo
13
     Altos’ public statements were materially false and misleading at all relevant times.
14
           5.       The truth emerged on February 20, 2024, when Palo Alto reported its financial
15
     results for the second quarter of 2024 and lowered third quarter 2024 guidance for fiscal
16
     year 2024, (the “February 20, 2024, Press Release”).
17
           6.       On that same day, in an earnings call, Defendant Arora stated that the lowered
18
     guidance was a “consequence of us driving a shift in our strategy in wanting to accelerate
19
     both our platformization and consolidation and activating our AI leadership.” Defendant
20
     Arora went on to reveal that the U.S. Federal Government deals for multiple projects did
21
     not close. As a result, the “significant shortfall in our U.S. federal government business” is
22
     expected to continue into the third and fourth quarter of 2024. Defendant Arora also
23
     reported that Palo Alto was “worsened in Q2.”
24
           7.       On this news, the price of the Company’s stock plunged to $104.12 per share,
25
     or approximately 28%, to close at $261.97 per share on February 21, 2024.
26
           8.       During the Relevant Period, the Individual Defendants breached their
27
     fiduciary duties by failing to correct and/or causing the Company to fail to correct these
28
                                                   3
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 1
     false and misleading statements and omissions of material fact while seven of the
 2
     Individual Defendants engaged in insider trading while the Company’s stock was
 3
     artificially inflated from the Individual Defendants’ false and misleading statements.
 4
     Specifically, the Individual Defendants willfully or recklessly made and caused Palo Alto
 5
     to make false and misleading statements and omissions of material fact that failed to
 6
     disclose, inter alia, that: (i) the Company’s platformization and consolidation initiatives
 7
     were not being adopted by customers and therefore not driving increased market share; (ii)
 8
     as a result, the Company’s new AI offerings were not facilitating platformization and
 9
     consolidation; (iii) the Company needed to increase platformization, free product offerings,
10
     and other incentives to attract new customers; (iv) Palo Alto’s high billing growth was not
11
     sustainable; (iv) the Company could not close deals with the U.S. Federal Government in
12
     Fiscal Year 2024; and (v) as a result, there was a substantial risk that the Company would
13
     be forced to revise Fiscal Year 2024 expectations. As a result, Individual Defendants’
14
     representations regarding the Company’s business, operations, and prospects were
15
     materially misleading at all relevant times.
16
             9.       In further breach of their fiduciary duties, the Individual Defendants failed to
17
     maintain internal controls while seven of the Individual Defendants engaged in lucrative
18
     insider trading, reaping personal profits exceeding $265 million. 1
19
             10.      In light of the Individual Defendants’ misconduct—which has subjected the
20
     Company and Defendants Arora, Golechha, and Klarich to two federal securities fraud
21
     class action lawsuits pending in the United States District Court for the Northern District
22
     of California (the “Securities Class Actions”), and which has further subjected the
23
     Company to the need to undertake internal investigations, the need to implement adequate
24
     internal controls, losses from the waste of corporate assets, and losses due to the unjust
25
     enrichment of the Individual Defendants who were improperly overcompensated by the
26
     Company and/or who benefitted from the wrongdoing alleged herein— the Company will
27
28   1
         All emphasis is added unless otherwise noted.
                                                      4
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 1
     have to expend many millions of dollars.
 2
           11.    The Company has been substantially damaged as a result of the Individual
 3
     Defendants’ knowing or highly reckless breaches of fiduciary duty and other misconduct.
 4
           12.    In light of the breaches of fiduciary duty engaged in by the Individual
 5
     Defendants, most of whom are the Company’s current directors, of the collective
 6
     engagement in fraud and misconduct by the Company’s directors, of the substantial
 7
     likelihood of the directors’ liability in this derivative action and of certain directors’ and
 8
     officers’ liability in the Securities Class Actions, and of their not being disinterested and/or
 9
     independent directors, a majority of the Company’s Board cannot consider a demand to
10
     commence litigation against themselves on behalf of the Company with the requisite level
11
     of disinterestedness and independence.
12
                                   JURISDICTION AND VENUE
13
           13.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331
14
     because Plaintiff’s claims raise a federal question under Section 14(a) of the Exchange Act
15
     (15 U.S.C. § 78n(a)(1)), Rule 14a-9 of the Exchange Act (17 C.F.R. § 240.14a-9), Section
16
     10(b) of the Exchange Act (15. U.S.C. § 78j(b)) and Section 21D of the Exchange Act (15
17
     U.S.C. § 78u-4(f)). Plaintiff’s claims also raise a federal question pertaining to the claims
18
     made in the Securities Class Actions based on violations of the Exchange Act.
19
           14.    Additionally, diversity jurisdiction is conferred by 28 U.S.C. § 1332. Plaintiff
20
     and Defendants are citizens of different states, and the amount in controversy exceeds the
21
     sum or value of $75,000, exclusive of interest and costs.
22
           15.    This Court has supplemental jurisdiction over Plaintiff’s state law claims
23
     pursuant to 28 U.S.C. § 1367(a).
24
           16.    This derivative action is not a collusive action to confer jurisdiction on a court
25
     of the United States that it would not otherwise have.
26
           17.    Venue is proper in this District because Palo Alto’s principal executive offices
27
     are in this District. In addition, a substantial portion of the transactions and wrongs
28
                                                    5
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 1
     complained of herein occurred in this District, the Defendants have conducted business in
 2
     this District, and Defendants’ actions have had an effect in this District.
 3
                                              PARTIES
 4
           Plaintiff
 5
           18.    Plaintiff is a current shareholder of Palo Alto. Plaintiff has continuously held
 6
     Palo Alto common stock at all relevant times. Plaintiff is a citizen of Virginia.
 7
           Nominal Defendant Palo Alto
 8
           19.    Palo Alto is a Delaware corporation with its headquarters at 3000 Tannery
 9
     Way, Santa Clara, CA, 95054. Palo Alto’s common stock trades on the Nasdaq Stock
10
     Market (“Nasdaq”) under the ticker symbol “PANW.”
11
           Defendant Arora
12
           20.    Defendant Arora has served as the Company’s CEO and as Chairman of the
13
     Board since June 2018. According to the proxy statement the Company filed on Schedule
14
     14A with the SEC on October 27, 2023 (the “2023 Proxy Statement”), as of September 21,
15
     2023, Defendant Arora beneficially owned 3,943,428 shares of the Company’s common
16
     stock, constituting 1.3% of the total outstanding common stock of the Company as of that
17
     date. Given that the price per share of the Company’s common stock at the close of trading
18
     on September 21, 2023 was $227.44, Defendant Arora owned approximately $896,893,264
19
     worth of Palo Alto stock as of that date.
20
           21.    For the fiscal year ended July 31, 2023 (the “2023 Fiscal Year”), Defendant
21
     Arora received $151,425,203 in total compensation from the Company. This included
22
     $750,000 in salary, $145,374,318 in stock awards, $1,500,000 in non-equity incentive plan
23
     compensation, and $3,800,885 in all other compensation.
24
           22.    During the Relevant Period, while the Company’s stock price was artificially
25
     inflated and before the scheme was exposed, Defendant Arora made the following sales of
26
     Company stock:
27               Date                Number of             Avg.              Proceeds
28                                    Shares            Price/Share
                                                   6
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 1               11/22/2023            40,848            $267.31          $10,919,242
 2               11/24/2022            30,678            $266.15          $8,164,826
                 11/27/2023            178,474           $268.38          $47,899,030
 3               12/11/2023             5,240            $300.01          $1,572,062
 4               12/12/2023            300,000           $304.00          $91,201,200
 5   Thus, in total, before the fraud was exposed, he sold 555,240 shares of Company stock on

 6   inside information, for which he received approximately $159,756,360 in proceeds. His

 7   insider sales, made with knowledge of material nonpublic information before the material

 8   misstatements and omissions were exposed, demonstrates his motive in facilitating and

 9   participating in the scheme.

10         23.    Upon information and belief, Defendant Arora is a citizen of California.

11         24.    The 2023 Proxy Statement stated the following about Defendant Arora:

12         Nikesh Arora has served as the Chair of our Board and Chief Executive
           Officer since June 2018. Prior to joining us, from 2016 through 2018 Mr.
13         Arora was an angel investor and from June 2016 through December 2017, Mr.
14         Arora served as an advisor to SoftBank Group Corp., a multinational
           conglomerate company (“SoftBank”). From July 2015 through June 2016,
15         Mr. Arora served as president and chief operating officer of SoftBank and
16         from July 2014 through June 2015, Mr. Arora served as vice chair and chief
           executive officer of SoftBank Internet and Media, a subsidiary of SoftBank.
17         Prior to SoftBank, from December 2004 through July 2014, Mr. Arora held
18         multiple senior leadership operating roles at Google, Inc., including serving
           as senior vice president and chief business officer, from January 2011 to June
19         2014. Mr. Arora also serves on the board of Compagnie Financiere Richemont
20         S.A., a public Switzerland-based luxury goods holding company. Mr. Arora
           previously served on the boards of Sprint Corp., a communications services
21         company, from November 2014 to June 2016, Colgate-Palmolive Company,
22         a worldwide consumer products company focused on the production,
           distribution and provision of household, health care and personal care
23         products, from March 2012 to September 2014, SoftBank from 2014 to 2016,
24         and Yahoo! Japan, an internet company, from 2015 to 2016. Mr. Arora holds
           an M.S. in Business Administration from Northeastern University, an M.S. in
25         Finance from Boston College, and a B.Tech in electrical engineering from the
26         Institute of Technology at Banaras Hindu University.
27         Mr. Arora was chosen to serve on our Board due to his leadership skills and
           experience as the chief architect of the Company’s strategic vision, as well as
28
                                                 7
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 1          his thorough knowledge of all aspects of our business. Through his extensive
 2          career in executive leadership, he brings expertise in leading and scaling
            technology businesses, risk management oversight, and in-depth knowledge
 3          of the cybersecurity and technology sectors.
 4          Defendant Zuk
 5          25.     Defendant Zuk is a founder of the Company. Defendant Zuk has served as
 6   the Company’s Chief Technology Officer (“CTO”) and a Company director since March
 7   2005. According to the 2023 Proxy Statement, as of September 21, 2023, Defendant Zuk
 8   beneficially owned 3,338,372 shares of the Company’s common stock, constituting 1.1%
 9   of the total outstanding common stock of the Company as of that date. Given that the price
10   per share of the Company’s common stock at the close of trading on September 21, 2023,
11   was $227.44 Defendant Zuk owned approximately $759,279,327 worth of Palo Alto stock
12   as of that date.
13          26.    For the 2023 Fiscal Year, Defendant Zuk received $8,086,212 in total
14   compensation from the Company. This included $419,515 in salary, $6,961,334 in stock
15   awards, $629,272 in non-equity incentive plan compensation, and $76,091 in all other
16   compensation.
17          27.    During the Relevant Period, while the Company’s stock price was artificially
18   inflated and before the scheme was exposed, Defendant Zuk made the following sales of
19   Company stock:
20                  Date              Number of           Avg.              Proceeds
21                                     Shares          Price/Share
                  12/01/2023           36,000            $294.48           $10,601,172
22                01/02/2024           36,000            $288.63           $10,390,536
23                02/01/2024           36,000            $338.53           $12,187,116

24   Thus, in total, before the fraud was exposed, he sold 108,000 shares of Company stock on

25   inside information, for which he received approximately $33,178,824 in proceeds. His

26   insider sales, made with knowledge of material nonpublic information before the material

27   misstatements and omissions were exposed, demonstrates his motive in facilitating and

28   participating in the scheme.
                                                  8
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 1
           28.    Upon information and belief, Defendant Zuk is a citizen of California.
 2
           29.    The 2023 Proxy Statement stated the following about Defendant Zuk:
 3
           Nir Zuk is one of our founders and has served as our Chief Technology Officer
 4         and as a member of our Board since March 2005. From April 2004 to March
 5         2005, Mr. Zuk was Chief Security Technologist at Juniper Networks, Inc., a
           supplier of network infrastructure products and services. From September
 6         2002 until its acquisition by Juniper in April 2004, Mr. Zuk was Chief
 7         Technology Officer at NetScreen Technologies, Inc., a provider of ASIC-
           based Internet security systems. In December 1999, Mr. Zuk co-founded
 8         OneSecure, Inc., a provider of prevention and detection appliances, and was
 9         Chief Technical Officer until its acquisition by NetScreen in September 2002.
           From 1994 to 1999, Mr. Zuk served in several technical roles, including
10
           Principal Engineer at Check Point Software Technologies Ltd., an enterprise
11         software security company. Mr. Zuk attended Tel Aviv University where he
           studied Mathematics.
12
13         Mr. Zuk is a co-founder of Palo Alto Networks, a network security expert and
           brings a wealth of network security knowledge and industry experience to
14         Palo Alto Networks. He brings business leadership, operational experience,
15         risk management oversight experience, and experience developing
           technology. He has an in-depth knowledge of the technology and
16         cybersecurity industries.
17
           Defendant Bawa
18
           30.    Defendant Bawa has served as a Company director since May 2021.
19
     Defendant Bawa also serves as a member of the Audit and Compensation and People
20
     Committees. According to the 2023 Proxy Statement, as of September 21, 2023, Defendant
21
     Bawa beneficially owned 711 shares of the Company’s common stock, constituting less
22
     than 1% of the total outstanding common stock of the Company as of that date. Given that
23
     the price per share of the Company’s common stock at the close of trading on September
24
     21, 2023 was $227.44, Defendant Bawa owned approximately $161,709 worth of Palo Alto
25
     stock as of that date.
26
           31.    For the 2023 Fiscal Year, Defendant Bawa received $356,383 in total
27
     compensation from the Company. This included $356,383 in stock awards.
28
                                                 9
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 1
           32.    Upon information and belief, Defendant Bawa is a citizen of California.
 2
           33.    The 2023 Proxy Statement stated the following about Defendant Bawa:
 3
           Aparna Bawa has served as a member of our Board since May 2021. Ms.
 4         Bawa has served as the Chief Operating Officer of Zoom Video
 5         Communications, Inc., a video communications company, since May 2020.
           Ms. Bawa served as Zoom’s Chief Legal Officer from August 2019 to May
 6         2020, its General Counsel from September 2018 to May 2020 and its
 7         Secretary from December 2018 to November 2020. Prior to Zoom Video
           Communications, Ms. Bawa served as Senior Vice President and General
 8         Counsel of Magento, Inc., an e-commerce platform company, from June 2017
 9         until its acquisition by Adobe Inc. in June 2018. From November 2012 to May
           2017, Ms. Bawa served as Vice President, General Counsel and Secretary of
10
           Nimble Storage, Inc., an enterprise flash storage company, which was
11         acquired by Hewlett Packard Enterprise in April 2017. Ms. Bawa holds a
           B.Sc. in Accounting from Marquette University and a J.D. from Harvard Law
12
           School.
13
           Ms. Bawa was selected to serve on our Board due to her senior leadership and
14         management experience at public technology companies, risk management
15         oversight expertise, and legal and business operations expertise. She has
           extensive experience in technology companies.
16
           Defendant Donovan
17
           34.    Defendant Donovan has served as a Company director since September 2012.
18
     Defendant Donovan also serves as a member of the Compensation and People Committee.
19
     According to the 2023 Proxy Statement, as of September 21, 2023, Defendant Donovan
20
     beneficially owned 142,275 shares of the Company’s common stock, constituting less than
21
     1% of the total outstanding common stock of the Company as of that date. Given that the
22
     price per share of the Company’s common stock at the close of trading on September 21,
23
     2023, was $227.44, Defendant Donovan owned approximately $32,359,026 worth of Palo
24
     Alto stock as of that date.
25
           35.    For the 2023 Fiscal Year, Defendant Donovan received $413,931 in total
26
     compensation from the Company. This included $413,931 in stock awards.
27
28
                                                10
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 1
           36.    During the Relevant Period, while the Company’s stock price was artificially
 2
     inflated and before the scheme was exposed, Defendant Donovan made the following sales
 3
     of Company stock:
 4
                   Date              Number of           Avg.              Proceeds
 5                                    Shares          Price/Share
 6               01/08/2024           20,136            $287.83           $5,795,785
                 01/09/2024           15,100            $300.06           $4,530,981
 7               01/12/2024            7,000            $330.03           $2,310,189
 8               01/16/2021            8,000            $300.03           $2,673,243
                 02/07/2024            1,700            $366.01            $622,225
 9               02/08/2024           69,240            $367.19           $25,424,235
10   Thus, in total, before the fraud was exposed, he sold 121,176 shares of Company stock on
11   inside information, for which he received approximately $41,356,658 in proceeds. His
12   insider sales, made with knowledge of material nonpublic information before the material
13   misstatements and omissions were exposed, demonstrates his motive in facilitating and
14   participating in the scheme.
15         37.    Upon information and belief, Defendant Donovan is a citizen of California.
16         38.    The 2023 Proxy Statement stated the following about Defendant Donovan:
17
           John M. Donovan has served as a member of our Board since September 2012.
18         Since May 2019, Mr. Donovan has served as Chair of The President’s
19         National Security Telecommunications Advisory Committee. Mr. Donovan
           worked at AT&T Inc., a provider of telecommunication services, since April
20         2008, first as Chief Technology Officer and subsequently as Chief Executive
21         Officer—AT&T Communications until his resignation, effective October 1,
           2019. From November 2006 to April 2008, Mr. Donovan was Executive Vice
22         President of Product, Sales, Marketing and Operations at Verisign. From
23         November 2000 to November 2006, Mr. Donovan served as Chair and CEO
           of inCode Telecom Group Inc., a provider of strategy and consulting services
24         to the telecommunications industry. Prior to joining inCode, Mr. Donovan
25         was a Partner with Deloitte Consulting where he was the Americas industry
           practice director for telecommunications. Mr. Donovan serves on the board of
26         directors of Lockheed Martin Corporation, an aerospace, defense and
27         technology company. Mr. Donovan holds a B.S. in Electrical Engineering

28
                                                 11
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 1         from the University of Notre Dame and an M.B.A. from the University of
 2         Minnesota.

 3         Mr. Donovan was selected to serve on our Board because of his technical
           knowledge and extensive business leadership, management, operations and
 4         risk management oversight experience, as a result of serving as the Chief
 5         Technology Officer and later the Chief Executive Officer of AT&T
           Communications. He is skilled in overseeing global information, software
 6         development, supply chain, network operations and big data organizations and
 7         has expertise in cybersecurity, artificial intelligence and machine learning.
 8         Defendant Eschenbach
 9         39.    Defendant Eschenbach has served as a Company director since May 2013.
10   According to the 2023 Proxy Statement, as of September 21, 2023, Defendant Eschenbach
11   beneficially owned 16,436 shares of the Company’s common stock, constituting less than
12   1% of the total outstanding common stock of the Company as of that date. Given that the
13   price per share of the Company’s common stock at the close of trading on September 21,
14   2023 was $227.44, Defendant Eschenbach owned approximately $3,738,203 worth of Palo
15   Alto stock as of that date.
16         40.    For the 2023 Fiscal Year, Defendant Eschenbach received $337,254 in total
17   compensation from the Company. This included $337,254 in stock awards.
18         41.    Upon information and belief, Defendant Eschenbach is a citizen of California.
19         42.    The 2023 Proxy Statement stated the following about Defendant Eschenbach:
20         Carl Eschenbach has served as a member of our Board since May 2013. Mr.
21         Eschenbach is Co-CEO of Workday, Inc., an on-demand financial
           management and human capital management software vendor, a position he
22         has held since December 2022. Prior to Workday, Mr. Eschenbach was a
23         general partner at Sequoia Capital Operations, LLC, a venture capital firm,
           since April 2016. Prior to joining Sequoia Capital Operations, LLC, Mr.
24         Eschenbach served as Chief Operating Officer and President of VMware, Inc.,
25         a provider of cloud and virtualization software and services, a role he held
           from December 2012 to February 2016. Mr. Eschenbach previously served as
26         VMware’s President and Chief Operating Officer from April 2012 to
27         December 2012, as VMware’s Co-President, Customer Operations from
           January 2011 to April 2012 and as VMware’s Executive Vice President of
28
                                                 12
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 1         Worldwide Field Operations from May 2005 to January 2011. Prior to joining
 2         VMware in 2002, he was Vice President of North America Sales at Inktomi
           from 2000 to 2002. Mr. Eschenbach also held various sales management
 3         positions with 3Com Corporation, Lucent Technologies Inc. and EMC. Mr.
 4         Eschenbach currently serves on the board of Workday, Inc. Mr. Eschenbach
           received an electronics technician diploma from DeVry University.
 5
           Mr. Eschenbach was selected to serve on our Board because of his extensive
 6         experience in the technology industry and his previous public company
 7         management experience. He brings to our Board over 30 years of operational
           and sales experience in the technology industry, and has extensive experience
 8
           in risk management oversight and scaling large organizations, as well as a
 9         deep knowledge of high-growth companies. Mr. Eschenbach also has
           extensive public company board experience.
10
            Defendant Gayle
11
           43.    Defendant Gayle has served as a Company director since May 2021.
12
     According to the 2023 Proxy Statement, as of September 21, 2023, Defendant Gayle
13
     beneficially owned 8,119 shares of the Company’s common stock, constituting less than
14
     1% of the total outstanding common stock of the Company as of that date. Given that the
15
     price per share of the Company’s common stock at the close of trading on September 21,
16
     2023 was $227.44, Defendant Gayle owned approximately $1,846,585 worth of Palo Alto
17
     stock as of that date.
18
           44.    For the 2023 Fiscal Year, Defendant Gayle received $346,738 in total
19
     compensation from the Company. This included $346,738 in stock awards.
20
           45.    Upon information and belief, Defendant Gayle is a citizen of Georgia.
21
           46.    The 2023 Proxy Statement stated the following about Defendant Gayle:
22
23         Dr. Helene D. Gayle has served as a member of our Board since May 2021.
           Dr. Gayle has been President of Spelman College since July 2022. Prior to
24
           this position, Dr. Gayle served as President and Chief Executive Officer of
25         The Chicago Community Trust, a community foundation dedicated to
           improving the Chicago region through strategic grant making, civic
26
           engagement and inspiring philanthropy, from 2017 to 2022. Dr. Gayle
27         previously served as Chief Executive Officer of McKinsey Social Initiative,
           an independent non-profit organization, from 2015 to 2017 and as President
28
                                                 13
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 1           and Chief Executive Officer of CARE USA, a leading international
 2           humanitarian organization, from 2006 to 2015. From 2001 to 2006, she was
             an executive in the Global Health program at the Bill & Melinda Gates
 3           Foundation. Dr. Gayle began her career in public health at the U.S. Centers
 4           for Disease Control in 1984, and held positions of increasing responsibility
             over her 20-year tenure there, ultimately becoming the director of the National
 5           Center for HIV, STD and TB Prevention and achieving the rank of Assistant
 6           Surgeon General and Rear Admiral in the United States Public Health Service.
             Dr. Gayle earned a Bachelor of Arts degree in Psychology from Barnard
 7           College of Columbia University, an M.D. from University of Pennsylvania
 8           and a Masters in Public Health from Johns Hopkins University. She currently
             serves as a member of the board of directors of The Coca-Cola Company, a
 9           beverage company, and Organon & Co., a pharmaceutical company. Dr.
10           Gayle previously served as a member of the board of directors of Colgate-
             Palmolive Company, a global consumer products company, from 2010 to
11           2021.
12
             Dr. Gayle was selected to serve on our Board because of her senior leadership
13           and chief executive officer experience and broad international exposure and
14           emerging market experience, as well as her governmental and non-profit
             expertise, risk management expertise and corporate governance experience as
15           a director of private and public companies.
16           Defendant Goetz
17           47.   Defendant Goetz has served as a Company director since April 2005.
18   Defendant Goetz also serves as a member of the Audit Committee. According to the 2023
19   Proxy Statement, as of September 21, 2023, Defendant Goetz beneficially owned 201,132
20   shares of the Company’s common stock, constituting less than 1% of the total outstanding
21   common stock of the Company as of that date. Given that the price per share of the
22   Company’s common stock at the close of trading on September 21, 2023 was $227.44,
23   Defendant Goetz owned approximately $45,745,462 worth of Palo Alto stock as of that
24   date.
25           48.   Upon information and belief, Defendant Goetz is a citizen of Florida.
26           49.   The 2023 Proxy Statement stated the following about Defendant Goetz:
27
             James J. Goetz has served as a member of our Board since April 2005. Mr.
28
                                                   14
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 1          Goetz has been a managing member of Sequoia Capital Operations, LLC, a
 2          venture capital firm, since June 2004, where he focuses on cloud, mobile, and
            enterprise companies. Mr. Goetz currently serves on the board of directors of
 3          Intel Corporation and several privately held companies. Mr. Goetz has
 4          previously served on the boards of directors of Barracuda Networks, Inc., a
            data security and storage company from 2009 to 2017, Nimble Storage, Inc.,
 5          a data storage company, from 2007 to 2017, Jive Software, Inc., a provider of
 6          social business software, from 2007 until 2015, and Ruckus Wireless, Inc., a
            manufacturer of wireless (Wi-Fi) networking equipment, from 2012 until
 7          2015. Mr. Goetz holds an M.S. in Electrical Engineering with a concentration
 8          in Computer Networking from Stanford University and a B.S. in Electrical
            Engineering with a concentration in Computer Engineering from the
 9          University of Cincinnati.
10
            Mr. Goetz was selected to serve on our Board because of his senior leadership,
11          technology, information technology (IT), business development and
12          cybersecurity experience, and knowledge of emerging technologies, arising
            from his experience as a partner of a venture capital firm, where he focuses
13          on cloud mobile, and enterprise technology investments, as well as providing
14          guidance and counsel to a wide variety of internet and technology companies.
            He also brings his experience as a senior management leader in network, data
15          security and storage, software, and manufacturing companies, through various
16          senior roles and other board experiences. Mr. Goetz also has extensive public
            company board experience.
17
            Defendant Key
18
            50.   Defendant Key has served as a Company director since April 2019 and also
19
     serves as Chair of the Audit Committee. Defendant Key also serves as Chairperson of the
20
     Compensation and People Committee and is a member of the Audit Committee. According
21
     to the 2023 Proxy Statement, as of September 21, 2023, Defendant Key beneficially owned
22
     15,073 shares of the Company’s common stock, constituting less than 1% of the total
23
     outstanding common stock of the Company as of that date. Given that the price per share
24
     of the Company’s common stock at the close of trading on September 21, 2023 was
25
     $227.44, Defendant Key owned approximately $3,428,203 worth of Palo Alto stock as of
26
     that date.
27
            51.   For the 2023 Fiscal Year, Defendant Key received $380,335 in total
28
                                                 15
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 1
     compensation from the Company. This included $380,335 in stock awards.
 2
           52.    During the Relevant Period, while the Company’s stock price was artificially
 3
     inflated and before the scheme was exposed, Defendant Key made the following sale of
 4
     Company stock:
 5
                   Date               Number of           Avg.             Proceeds
 6                                     Shares          Price/Share
 7               12/18/2023             2,297            $308.74           $709,175
     Thus, in total, before the fraud was exposed, he sold 2,297 shares of Company stock on
 8
     inside information, for which he received approximately $709,175 in proceeds. His insider
 9
     sales, made with knowledge of material nonpublic information before the material
10
     misstatements and omissions were exposed, demonstrates his motive in facilitating and
11
     participating in the scheme.
12
           53.    Upon information and belief, Defendant Key is a citizen of New Zealand.
13
           54.    The 2023 Proxy Statement stated the following about Defendant Key:
14
15         Right Honorable Sir John Key has served as a member of our Board since
16         April 2019. Sir John was a Member of Parliament for Helensville in New
           Zealand until April 2017. Sir John served as Prime Minister of New Zealand
17         from November 2008 to December 2016 having commenced his political
18         career as a Member of Parliament for Helensville in July 2002. Prior to his
           political career, he had a nearly twenty-year career in international finance,
19         primarily for Bankers Trust of New Zealand and Merrill Lynch in Singapore,
20         London and Sydney. Sir John serves as the chair and member of the board of
           directors of ANZ Bank New Zealand Ltd and is a member of the board of
21         directors of the parent Australia & New Zealand Banking Group Ltd, a public
22         bank that provides various banking and financial products and services and
           also serves on the board of directors of several privately held companies. He
23         previously served on the board of directors of Air New Zealand Limited, a
24         public airline, from 2017 to 2020. Sir John has a Bachelor of Commerce in
           Accounting from the University of Canterbury.
25
26         Sir John was selected to serve on our Board due to his global business
           leadership and extensive financial, capital markets, and management expertise
27         as former Prime Minister of New Zealand, his extensive background in
28         foreign affairs, and his career in investment banking and finance. He brings
                                                  16
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 1          extensive experience in policy-making and a global business perspective from
 2          his experience and service on other boards, which is especially valuable to us
            as we grow internationally.
 3
            Defendant McCarthy
 4
            55.    Defendant McCarthy has served as a Company director since October 2016.
 5
     Defendant McCarthy also serves as Chair of the Audit Committee. According to the 2023
 6
     Proxy Statement, as of September 21, 2023, Defendant McCarthy beneficially owned
 7
     201,132 shares of the Company’s common stock, constituting less than 1% of the total
 8
     outstanding common stock of the Company as of that date. Given that the price per share
 9
     of the Company’s common stock at the close of trading on September 21, 2023 was
10
     $227.44, Defendant McCarthy owned approximately $45,745,462 worth of Palo Alto stock
11
     as of that date.
12
            56.    For the 2023 Fiscal Year, Defendant McCarthy received $370,850 in total
13
     compensation from the Company. This included $370,850 in stock awards.
14
            57.    During the Relevant Period, while the Company’s stock price was artificially
15
     inflated and before the scheme was exposed, Defendant McCarthy made the following sale
16
     of Company stock:
17
                    Date              Number of           Avg.             Proceeds
18                                     Shares          Price/Share
19                12/11/2023            1,000            $298.31           $298,306
     Thus, in total, before the fraud was exposed, she sold 1,000 shares of Company stock on
20
     inside information, for which she received approximately $298,306 in proceeds. Her
21
     insider sales, made with knowledge of material nonpublic information before the material
22
     misstatements and omissions were exposed, demonstrates her motive in facilitating and
23
     participating in the scheme.
24
            58.    Upon information and belief, Defendant McCarthy is a citizen of Arizona.
25
            59.    The 2023 Proxy Statement stated the following about Defendant McCarthy:
26
            Mary Pat McCarthy has served as a member of our Board since October 2016.
27
            Ms. McCarthy, now retired, served as Vice Chair of KPMG LLP, the U.S.
28          member firm of the global audit, tax and advisory services firm, until 2011
                                                  17
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 1         after attaining such position in 1998. She joined KPMG LLP in 1977 and
 2         became a partner in 1987. She held numerous senior leadership positions in
           the firm, including Executive Director of the KPMG Audit Committee
 3         Institute from 2008 to 2011, Leader of the KPMG Client Care program from
 4         2007 to 2008, U.S. Leader, Industries and Markets from 2005 to 2006, and
           Global Leader, Information, Communication and Entertainment Practice from
 5         1998 to 2004. Ms. McCarthy also served on KPMG’s Management and
 6         Operations Committees. Ms. McCarthy earned a Bachelor of Science degree
           in Business Administration from Creighton University and completed the
 7         University of Pennsylvania Wharton School’s KPMG International
 8         Development Program. Ms. McCarthy serves as a director of Micron
           Technology, Inc., a producer of semiconductor devices and previously served
 9         on the board of directors of Mutual of Omaha, an insurance company, from
10         2012 to 2018 and Andeavor Corporation (formerly Tesoro Corporation), a
           global energy corporation from 2012 to 2018.
11
12         Ms. McCarthy was selected to serve on our Board because of her deep
           technical expertise in financial and accounting matters from her experience as
13         the Vice Chair of KPMG LLP, advising numerous companies on financial and
14         accounting matters, as well as her leadership experience as a member of
           management at KPMG. She is an “audit committee financial expert” with over
15         40 years of experience in finance, operations and risk management oversight
16         of technology companies, particularly publicly traded companies with
           knowledge of complex global financial and business matters. In addition, she
17         brings a global business perspective and contributes valuable insights and
18         perspectives to our business and operations from her service on other boards.
19         Defendant Twohill

20         60.    Defendant Twohill has served as a Company director since April 2019.

21   According to the 2023 Proxy Statement, as of September 21, 2023, Defendant Twohill

22   beneficially owned 18,132 shares of the Company’s common stock, constituting less than

23   1% of the total outstanding common stock of the Company as of that date. Given that the

24   price per share of the Company’s common stock at the close of trading on September 21,

25   2023 was $227.44, Defendant Twohill owned approximately $4,123,942 worth of Palo

26   Alto stock as of that date.

27         61.    For the 2023 Fiscal Year, Defendant Twohill received $361,045 in total

28   compensation from the Company. This included $361,045 in stock awards.
                                                18
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 1
           62.    Upon information and belief, Defendant Twohill is a citizen of California.
 2
           63.    The 2023 Proxy Statement stated the following about Defendant Twohill:
 3
 4         Lorraine Twohill has served as a member of our Board of directors since April
           2019. Ms. Twohill currently serves as Google LLC’s (formerly Google, Inc.)
 5         Chief Marketing Officer, a position she has held since June 2009. From July
 6         2003 until June 2009, Ms. Twohill served as Google’s Head of Marketing
           Europe, Middle East and Africa. Ms. Twohill previously served on the board
 7         of directors of Williams-Sonoma, Inc., a consumer retail company that sells
 8         kitchenwares and home furnishings, from January 2012 until May 2017. Ms.
           Twohill holds joint honors degrees in International Marketing and Languages
 9         from Dublin City University.
10
           Ms. Twohill was selected to serve on our Board due to her leadership skills
11         and extensive marketing knowledge, with over 25 years of experience. She
12         has deep management and business operations experience, as well as risk
           management oversight experience. She provides the Board with valuable
13         insights into brand management and the global issues facing technology
14         companies today.

15         Defendant Golechha

16         64.    Defendant Golechha has served as the Company’s CFO since March 2021.

17   Previously, Defendant Golechha served as the Company’s Senior Vice President.

18   According to the 2023 Proxy Statement, as of September 21, 2023, Defendant Golechha

19   beneficially owned 78,043 shares of the Company’s common stock, constituting less than

20   1% of the total outstanding common stock of the Company as of that date. Given that the

21   price per share of the Company’s common stock at the close of trading on September 21,

22   2023 was $227.44, Defendant Golechha owned approximately $17,750,099 worth of Palo

23   Alto stock as of that date.

24         65.    For the 2023 Fiscal Year, Defendant Golechha received $9,381,668 in total

25   compensation from the Company. This included $600,00 in salary, $7,879,645 in stock

26   awards, $900,00 in non-equity incentive plan compensation, and $2,023 in all other

27   compensation.

28
                                                19
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 1
           66.    During the Relevant Period, while the Company’s stock price was artificially
 2
     inflated and before the scheme was exposed, Defendant Golechha made the following sales
 3
     of Company stock:
 4
                   Date              Number of            Avg.              Proceeds
 5                                    Shares           Price/Share
 6               12/13/2024            2,500             $305.04            $762,600
                 03/01/2024            2,500             $311.53            $778,824
 7
     Thus, in total, before the fraud was exposed, he sold 5,000 shares of Company stock on
 8
     inside information, for which he received approximately $1,541,424 in proceeds. His
 9
     insider sales, made with knowledge of material nonpublic information before the material
10
     misstatements and omissions were exposed, demonstrates his motive in facilitating and
11
     participating in the scheme.
12
           67.    Upon information and belief, Defendant Golechha is a citizen of California.
13
           68.    The 2023 Proxy Statement stated the following about Defendant Golechha:
14
15         Dipak Golechha has served as our Chief Financial Officer since March 2021.
           Mr. Golechha joined the Company in December 2020 as Senior Vice
16         President, Finance. Prior to joining the Company, from August 2020 until
17         December 2020, Mr. Golechha served as senior advisor at Boston Consulting
           Group, a management consulting firm. From December 2016 to April 2020,
18         Mr. Golechha was President and Chief Executive Officer of Excelligence
19         Learning Corporation, a tech-enabled platform company in early childhood
           education. From August 2014 through July 2016, Mr. Golechha served as the
20         chief financial officer of NBTY Inc., also known as The Nature’s Bounty
21         Company, a manufacturer of vitamins, minerals and health supplements.
           During 2014, Mr. Golechha served as the chief financial officer of Chobani,
22         a yogurt company. Prior to Chobani, Mr. Golechha worked at The Procter &
23         Gamble Company, an American multinational consumer goods corporation,
           for 18 years, most recently serving as chief financial officer / chief operating
24         officer of the Global Feminine Care / Adult Care Division from August 2012
25         to December 2013. Mr. Golechha holds a bachelor’s degree and a master’s
           degree from St. John’s College, Cambridge University in Economics.
26
           Defendant Klarich
27
28
                                                 20
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 1
           69.    Defendant Klarich has served as the Company’s Chief Technology Officer
 2
     (“CTO”) since August 2017. Defendant Klarich previously served as the Company’s
 3
     Executive Vice President of Product Management. According to the 2023 Proxy Statement,
 4
     as of September 21, 2023, Defendant Klarich beneficially owned 2,349,014 shares of the
 5
     Company’s common stock, constituting less than 1% of the total outstanding common
 6
     stock of the Company as of that date. Given that the price per share of the Company’s
 7
     common stock at the close of trading on September 21, 2023, was $227.44, Defendant
 8
     Klarich owned approximately $534,259,744 worth of Palo Alto stock as of that date.
 9
           70.    For the 2023 Fiscal Year, Defendant Klarich received $17,092,370 in total
10
     compensation from the Company. This included $550,00 in salary, $ 15,685,347 in stock
11
     awards, $825,000 in non-equity incentive plan compensation, and $32,023 in all other
12
     compensation.
13
           71.    During the Relevant Period, while the Company’s stock price was artificially
14
     inflated and before the scheme was exposed, Defendant Klarich made the following sales
15
     of Company stock:
16
                   Date              Number of           Avg.              Proceeds
17                                    Shares          Price/Share
18               12/04/2023           45,000            $288.82           $12,997,034
                 01/29/2024           45,000            $343.33           $15,449,805
19
     Thus, in total, before the fraud was exposed, he sold 90,000 shares of Company stock on
20
     inside information, for which he received approximately $28,446,839 in proceeds. His
21
     insider sales, made with knowledge of material nonpublic information before the material
22
     misstatements and omissions were exposed, demonstrates his motive in facilitating and
23
     participating in the scheme.
24
           72.    Upon information and belief, Defendant Klarich is a citizen of California.
25
           73.    The 2023 Proxy Statement stated the following about Defendant Klarich:
26
27         Lee Klarich has served as our Chief Product Officer since August 2017. Prior
           to this appointment, Mr. Klarich served as our Executive Vice President of
28
                                                 21
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 1         Product Management, a role he held since November 2015. From November
 2         2012 to November 2015, Mr. Klarich served as our Senior Vice President,
           Product Management and our Vice President, Product Management from May
 3         2006 to November 2012. Prior to joining us, Mr. Klarich held various
 4         positions at NetScreen Technologies, Juniper Networks, Excite@Home, and
           Packard Bell-NEC. Mr. Klarich holds a B.S. in Engineering from Cornell
 5         University.
 6               FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS
 7         74.    By reason of their positions as officers, directors, and/or fiduciaries of Palo
 8   Alto and because of their ability to control the business and corporate affairs of Palo Alto,
 9   the Individual Defendants owed Palo Alto and its shareholders fiduciary obligations of
10   trust, loyalty, good faith, and due care, and were and are required to use their utmost ability
11   to control and manage Palo Alto in a fair, just, honest, and equitable manner. The Individual
12   Defendants were and are required to act in furtherance of the best interests of Palo Alto
13   and its shareholders so as to benefit all shareholders equally.
14         75.    Each director and officer of the Company owes to Palo Alto and its
15   shareholders the fiduciary duty to exercise good faith and diligence in the administration
16   of the Company and in the use and preservation of its property and assets and the highest
17   obligations of fair dealing.
18         76.    The Individual Defendants, because of their positions of control and authority
19   as directors and/or officers of Palo Alto, were able to and did, directly and/or indirectly,
20   exercise control over the wrongful acts complained of herein.
21         77.    To discharge their duties, the officers, and directors of Palo Alto were required
22   to exercise reasonable and prudent supervision over the management, policies, controls,
23   and operations of the Company.
24         78.    Each Individual Defendant, by virtue of their position as a director and/or
25   officer, owed to the Company and to its shareholders the highest fiduciary duties of loyalty,
26   good faith, and the exercise of due care and diligence in the management and
27   administration of the affairs of the Company, as well as in the use and preservation of its
28
                                                   22
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 1
     property and assets. The conduct of the Individual Defendants complained of herein
 2
     involves a knowing and culpable violation of their obligations as directors and officers of
 3
     Palo Alto, the absence of good faith on their part, or a reckless disregard for their duties to
 4
     the Company and its shareholders that the Individual Defendants were aware or should
 5
     have been aware posed a risk of serious injury to the Company. The conduct of the
 6
     Individual Defendants who were also officers and directors of the Company has been
 7
     ratified by the remaining Individual Defendants who collectively comprised the
 8
     Company’s Board at all relevant times.
 9
           79.    As senior executive officers and/or directors of a publicly-traded company
10
     whose common stock was registered with the SEC pursuant to the Exchange Act and traded
11
     on the Nasdaq, the Individual Defendants had a duty to prevent and not to effect the
12
     dissemination of inaccurate and untruthful information with respect to the Company’s
13
     financial condition, performance, growth, operations, financial statements, business,
14
     products, management, earnings, internal controls, and present and future business
15
     prospects, including the dissemination of false information regarding the Company’s
16
     business, prospects, and operations, and had a duty to cause the Company to disclose in its
17
     regulatory filings with the SEC all those facts described in this complaint that it failed to
18
     disclose, so that the market price of the Company’s common stock would be based upon
19
     truthful and accurate information. Further, they had a duty to ensure the Company remained
20
     in compliance with all applicable laws.
21
           80.    To discharge their duties, the officers and directors of the Company were
22
     required to exercise reasonable and prudent supervision over the management, policies,
23
     practices, and internal controls of the Company. By virtue of such duties, the officers and
24
     directors of Palo Alto were required to, among other things:
25
                  (a)    ensure that the Company was operated in a diligent, honest, and prudent
26
     manner in accordance with the laws and regulations of Delaware, California, and the
27
     United States, and pursuant to Palo Alto’s corporate governance and applicable codes of
28
                                                   23
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 1
     conduct and/or ethics;
 2
                  (b)    conduct the affairs of the Company in an efficient, business-like manner
 3
     so as to make it possible to provide the highest quality performance of its business, to avoid
 4
     wasting the Company’s assets, and to maximize the value of the Company’s stock;
 5
                  (c)    remain informed as to how Palo Alto conducted its operations, and,
 6
     upon receipt of notice or information of imprudent or unsound conditions or practices, to
 7
     make reasonable inquiry in connection therewith, and to take steps to correct such
 8
     conditions or practices;
 9
                  (d)    establish and maintain systematic and accurate records and reports of
10
     the business and internal affairs of Palo Alto and procedures for the reporting of the
11
     business and internal affairs to the Board and to periodically investigate, or cause
12
     independent investigation to be made of, said reports and records;
13
                  (e)    maintain and implement an adequate and functioning system of internal
14
     legal, financial, and management controls, such that Palo Alto’s operations would comply
15
     with all applicable laws and Palo Alto’s financial statements and regulatory filings filed
16
     with the SEC and disseminated to the public and the Company’s shareholders would be
17
     accurate;
18
                  (f)    exercise reasonable control and supervision over the public statements
19
     made by the Company’s officers and employees and any other reports or information that
20
     the Company was required by law to disseminate;
21
                  (g)    refrain from unduly benefiting themselves and other Company insiders
22
     at the expense of the Company; and
23
                  (h)    examine and evaluate any reports of examinations, audits, or other
24
     financial information concerning the financial affairs of the Company and to make full and
25
     accurate disclosure of all material facts concerning, inter alia, each of the subjects and
26
     duties set forth above.
27
           81.    Each of the Individual Defendants further owed to Palo Alto and the
28
                                                  24
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 1
     shareholders the duty of loyalty requiring that each favor Palo Alto’s interest and that of
 2
     its shareholders over their own while conducting the affairs of the Company and refrain
 3
     from using their position, influence or knowledge of the affairs of the Company to gain
 4
     personal advantage.
 5
           82.     At all times relevant hereto, the Individual Defendants were the agents of each
 6
     other and of Palo Alto and were at all times acting within the course and scope of such
 7
     agency.
 8
           83.     Because of their advisory, executive, managerial, directorial, and controlling
 9
     positions with Palo Alto, each of the Individual Defendants had access to adverse,
10
     nonpublic information about the Company.
11
           84.     The Individual Defendants, because of their positions of control and authority,
12
     were able to and did, directly or indirectly, exercise control over the wrongful acts
13
     complained of herein, as well as the contents of the various public statements issued by
14
     Palo Alto.
15
16       CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

17         85.     In committing the wrongful acts alleged herein, the Individual Defendants
18   have pursued, or joined in the pursuit of, a common course of conduct, and have acted in
19   concert with and conspired with one another in furtherance of their wrongdoing. The
20   Individual Defendants caused the Company to conceal the true facts as alleged herein. The
21   Individual Defendants further aided and abetted and/or assisted each other in breaching
22   their respective duties.
23         86.     The purpose and effect of the conspiracy, common enterprise, and/or common
24   course of conduct was, among other things, to: (i) facilitate and disguise the Individual
25   Defendants’ violations of law, including breaches of fiduciary duty, unjust enrichment,
26   waste of corporate assets, gross mismanagement, and abuse of control; (ii) conceal adverse
27   information concerning the Company’s operations, financial condition, legal compliance,
28
                                                   25
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 1
     future business prospects, and internal controls; and (iii) artificially inflate the Company’s
 2
     stock price.
 3
           87.      The Individual Defendants accomplished their conspiracy, common
 4
     enterprise, and/or common course of conduct by causing the Company purposefully or
 5
     recklessly to conceal material facts, fail to correct such misrepresentations, and violate
 6
     applicable laws. In furtherance of this plan, conspiracy, and course of conduct, the
 7
     Individual Defendants collectively and individually took the actions set forth herein.
 8
     Because the actions described herein occurred under the authority of the Board, each of the
 9
     Individual Defendants who is a director of Palo Alto was a direct, necessary, and
10
     substantial participant in the conspiracy, common enterprise, and/or common course of
11
     conduct complained of herein.
12
           88.      Each of the Individual Defendants aided, abetted, and rendered substantial
13
     assistance in the wrongs complained of herein. In taking such actions to substantially assist
14
     the commission of the wrongdoing complained of herein, each of the Individual Defendants
15
     acted with actual or constructive knowledge of the primary wrongdoing, either took direct
16
     part in, or substantially assisted in the accomplishment of that wrongdoing, and was or
17
     should have been aware of his or her overall contribution to and furtherance of the
18
     wrongdoing.
19
           89.      At all times relevant hereto, each of the Individual Defendants was the agent
20
     of each of the other Individual Defendants and of Palo Alto and was at all times acting
21
     within the course and scope of such agency.
22
                        PALO ALTO’S CODE OF CONDUCT & ETHICS
23
           90.      Palo Alto’s Code of Conduct and Ethics (the “Code of Conduct”) guides all
24
     directors, officers, and employees of Palo Alto and its subsidiaries. The “Introduction” to
25
     the Code of Conduct states the following:
26
           This Code of Business Conduct and Ethics (the “Code of Conduct”)
27         summarizes the ethical standards and key policies that guide the business
28
                                                   26
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 1         conduct of the directors, officers and employees of Palo Alto Networks, Inc.
 2         and its subsidiaries, affiliates and related entities (the “Company”).

 3         The purpose of this Code of Conduct is to promote ethical conduct and deter
           wrongdoing. The policies outlined in this Code of Conduct are designed to
 4         ensure that the Company’s employees, including its officers (collectively
 5         referred to herein as “employees”), and members of its board of directors
           (“directors”) act in accordance with not only the letter but also the spirit of the
 6         laws and regulations that apply to the Company’s business. In addition to
 7         being bound by all other provisions of this Code of Conduct, the CEO and
           senior financial officers are subject to the Code of Ethics for CEO and Senior
 8
           Financial Officers included in this Code of Conduct. The Company expects
 9         its employees and directors to exercise good judgment to uphold these
           standards in their day-to-day activities and to comply with all applicable
10
           policies and procedures in the course of their relationship with the Company.
11
           Employees and directors are expected to read the policies set forth, or
12         referenced, in this Code of Conduct and ensure that they understand and
13         comply with them. All employees and directors are required to abide by the
           Code of Conduct. Employees are expected to communicate requirements
14         outlined in this code and best practices to the Company’s agents, represen-
15         tatives, contractors and consultants with whom they work to ensure that they
           too conduct themselves appropriately when doing business on the Company’s
16         behalf.
17
           The Code of Conduct does not cover every issue that may arise, but it provides
18         general guidelines for exercising good judgment. Employees and directors
           should refer to the Company’s other policies and procedures for implementing
19
           the general principles set forth below. Any questions about the Code of
20         Conduct or the appropriate course of conduct in a particular situation should
           be directed to the Company’s Global Ethics and Compliance Team
21
           (compliance@paloaltonetworks. com). Any violations of laws, rules,
22         regulations or this Code of Conduct should be reported immediately, as
23         described in this Code of Conduct. The Company will not allow retaliation
           against an employee or director for such a report made in good faith.
24         Employees and directors who violate this Code of Conduct may be subject to
25         disciplinary action up to and including termination of employment.

26         91.   Under the heading “Compliance with Laws, Rules, and Regulations,” the
27   Code of Conduct states:
28
                                                   27
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 1           Employees and directors must comply, both in letter and spirit, with all laws,
 2           rules and regulations applicable to the Company and its business, as well as
             applicable Company policies and procedures. Each employee and director
 3           must acquire appropriate knowledge of the legal requirements relating to his
 4           or her duties sufficient to enable him or her to recognize potential problems
             and to know when to seek advice when they become aware of actions that are
 5           inconsistent with this Code. Violations of laws, rules and regulations may
 6           subject the violator to individual criminal or civil liability, as well as to
             discipline in accordance with local law. Any questions as to the applicability
 7           of any law, rule or regulation may be directed to the Company’s Legal De-
 8           partment.

 9           92.   In a section titled “Insider Trading,” the Code of Conduct states:
10
             Buying or selling stock, or telling others to buy or sell stock, on the basis of
11           material, non-public information is called “insider trading” and is illegal. The
12           purpose of the Company’s insider trading policy is to establish guidelines to
             ensure that all employees and directors comply with laws prohibiting insider
13           trading. No employee or director in possession of material, non-public
14           information may trade the Company’s securities (or advise others to trade)
             from the time they obtain such information until after adequate public
15           disclosure of the information has been made. Anyone—including employees
16           and directors—who knowingly trades Company securities while in possession
             of material, non-public information or who tips information to others will be
17           subject to appropriate disciplinary action up to and including termination.
18           Insider trading is also a crime.
19           Employees and directors also may not trade in the shares of other companies
             about which they learn material, non-public information through the course of
20
             their employment or service with the Company, nor may advise others to trade
21           based on such non-public information.
22           Please review the Company’s Insider Trading Policy.
23
             Any questions as to whether information is material or has been adequately
24           disclosed should be directed to the Company’s General Counsel. Consult the
25           Legal Department if you have any questions regarding insider trading.

26           93.   In a section titled “Record-Keeping,” the Code of Conduct states, in relevant
27   part:
28
                                                   28
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 1         All of the Company’s books, records, accounts and financial statements must
 2         be maintained in reasonable detail, must appropriately reflect the transactions
           and matters to which they relate and must conform both to applicable legal
 3         requirements and to the Company’s system of internal controls. All assets of
 4         the Company must be carefully and properly accounted for. Similarly, all time
           and expense/cost records and reports must be accurate. The making of false
 5         or misleading records or documentation is strictly prohibited. Unrecorded
 6         funds or assets should not be maintained.

 7         Employees must comply with all laws and regulations regarding the
           preservation of records. Records should be retained or destroyed only in
 8
           accordance with the Company’s document retention policies. Any questions
 9         about these policies should be directed to recordsretention@paloalto-
           networks.com or compliance@paloaltonetworks.com, as appropriate.
10
           Employees should also consult the Company’s Anti-Corruption Policy.
11
12         94.    In a section titled “Disclosure,” the Code of Conduct states, in relevant part:

13         The information in the Company’s public communications, including filings
           with the Securities and Exchange Commission, must be full, fair, accurate,
14
           timely and understandable. All employees and directors are responsible for
15         acting in furtherance of this policy. In particular, each employee and director
           is responsible for complying with the Company’s disclosure controls and
16
           procedures and internal controls for financial reporting through the
17         appropriate channels, as established in the reporting section of this Code of
           Conduct. Any questions concerning the Company’s disclosure controls and
18
           procedures and internal controls for financial reporting should be directed to
19         the Company’s Chief Financial Officer or General Counsel, as appropriate.
20         Anyone that believes that questionable accounting or auditing conduct or
21         practices have occurred or are occurring should follow the Reporting section
           of this Code, or direct questions to their supervisors or the Legal Department.
22
23         95.    In violation of the Code of Conduct, the Individual Defendants conducted
24   little, if any, oversight of the Company’s engagement in the Individual Defendants’ scheme
25   to issue materially false and misleading statements to the public and to facilitate and
26   disguise the Individual Defendants’ violations of law, including breaches of fiduciary duty,
27   unjust enrichment, gross mismanagement, abuse of control, waste of corporate assets, and
28   violations of Section 14(a) of the Exchange Act. Moreover, seven of the Individual
                                                  29
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 1
     Defendants violated the Code of Conduct by engaging in insider trading. Additionally, in
 2
     violation of the Code of Conduct, the Individual Defendants failed to maintain the accuracy
 3
     of Company records and reports, comply with laws and regulations, conduct business in an
 4
     honest and ethical manner, and properly report violations of the Code of Conduct.
 5
 6                      PALO ALTO’S AUDIT COMMITTEE CHARTER

 7         96.      Palo Alto’s Audit Committee Charter opens by stating that the “Purpose” of
 8   the Audit Committee is to:
 9         The purpose of the Audit Committee is to assist the Board of Directors (the
           “Board”) of Palo Alto Networks, Inc. (the “Company”) in fulfilling its
10         responsibilities for generally overseeing:
11
                 • The Company’s accounting and financial reporting processes and
12                 internal controls as well as the audit and integrity of the Company’s
                   financial statements.
13
14               • The qualifications, independence and performance of the Company’s
                   independent registered public accounting firm (the “independent
15                 auditor”).
16
                 • The performance of the Company’s internal audit function.
17
                 • The Company’s compliance with applicable law (including U.S. federal
18
                   securities laws and other legal and regulatory requirements).
19
                 • Risk assessment and risk management pertaining to the financial,
20                 accounting and tax matters of the Company.
21
           The Audit Committee is also responsible for preparing the report required by
22         Securities and Exchange Commission (“SEC”) rules to be included in the
23         Company’s proxy statement for the annual meeting of stockholders, and for
           performing such other duties and responsibilities as are enumerated in on
24         consistent with this charter.
25         97.      In a section titled “Responsibilities,” the Palo Alto Audit Committee Charter
26
     tasks the Audit Committee with the following regarding the review of financial statements:
27
28
                                                   30
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 1   The Audit Committee shall review and discuss the following with
 2   management, the Company’s internal auditors (the “internal auditors”), if
     applicable, and the independent auditor, as applicable: In a section titled
 3   “Legal and Regulatory Compliance,” the Audit Committee Charter states:
 4
        • The scope, timing and approach, as well as the materiality thresholds
 5        for, of the annual audit of the Company’s financial statements.
 6      • The Company’s annual audited and quarterly financial statements and
 7        annual and quarterly reports on Form 10-K and 10-Q, including the
          disclosures in “Management’s Discussion and Analysis of Financial
 8        Condition and Results of Operations,” and recommend to the Board
 9        whether the audited financial statements and “Management’s
          Discussion and Analysis of Financial Condition and Results of
10        Operations” should be included in the Company’s Form 10-K.
11
        • The results of the independent audit and the quarterly reviews of the
12        Company’s financial statements, and the independent auditor’s opinion
13        on the annual financial statements, including any critical counting
          matters (CAMs) identified in the auditor’s report.
14
        • The reports and certifications regarding internal control over financial
15
          reporting and disclosure controls and procedures.
16
        • Major matters regarding accounting principles and financial statement
17        presentations, including any significant changes in the Company’s
18        selection or application of accounting principles. The Audit Committee
          shall consider the judgment of both management and the independent
19        auditor about the quality, not just the acceptability, of accounting
20        principles.
21      • Analyses prepared by management or the independent auditor setting
22        forth significant financial reporting matters and judgments made in
          connection with the preparation of the financial statements.
23
        • The effect of regulatory requirements and accounting pronouncements
24
          on the Company’s financial statements.
25
        • Any significant changes required or taken in the audit plan as a result
26        of any material control deficiency.
27
28
                                          31
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 1               • Any problems or difficulties the independent auditor encountered in the
 2                 course of its audit work, including any restrictions on the scope of the
                   independent auditor’s activities or on access to requested information
 3                 and management’s response.
 4
                 • Any significant disagreements between management and the
 5                 independent auditor.
 6
           98.      In a section titled “Legal and Regulatory Compliance,” the Palo Alto Audit
 7
     Committee Charter states:
 8
           The Audit Committee shall oversee and discuss, as needed, with management,
 9
           the internal auditors and the independent auditor: (i) the overall adequacy and
10         effectiveness of the Company’s ethical compliance programs, including (but
           not limited to) the Company’s Code of Business Conduct and Ethics (except
11
           to the extent related to conflicts of interest, which is subject to the oversight
12         of the ESG and Nominating Committee of the Board); and (ii) reports
13         regarding compliance with applicable laws, regulations and internal
           compliance programs (including compliance with the Foreign Corrupt
14         Practices Act, foreign anticorruption laws and export control regulations) in
15         each case to the extent pertaining to financial, accounting and/or tax matters.
           The Audit Committee shall discuss with management and the independent
16         auditor any correspondence with regulators or governmental agencies,
17         including any comment letters issued by the SEC with respect to the
           Company’s public filings and any published reports that raise material issues
18         regarding the Company’s financial statements or accounting policies. The
19         Audit Committee shall discuss with the Company’s general counsel legal
           matters thar may have material impact on the financial statements.
20
           99.      Regarding “Oversight,” the Palo Alto Audit Committee Charter states:
21
           The Company’s management is responsible for preparing accurate and
22         complete financial statements in accordance with GAAP, preparing periodic
23         reports, and establishing and maintaining appropriate and satisfactory
           accounting principles, financial reporting policies and internal control over
24         financial reporting. The Company’s independent auditor is responsible for
25         auditing and reviewing the Company’s financial statements, reviewing
           quarterly financial statements, and evaluating the effectiveness of the
26         Company’s internal control over financial reporting. The Audit Committee is
27         responsible for assisting the Board in overseeing the conduct of these
           activities by management and the independent auditor. The Audit Committee
28
                                                   32
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 1         is not responsible for preparing, providing any expert or special assurance as
 2         to, or guaranteeing the financial statements or the independent auditor’s work.
           It is recognized that the members of the Audit Committee are not employees
 3         of the Company, that it is not the duty or responsibility of the Audit
 4         Committee or its members to conduct “field work” or other types of auditing
           or accounting reviews or procedures; to set auditor independence standards;
 5         or ensure that the financial statements or periodic reports are complete and
 6         accurate, conform to GAAP, or otherwise comply with applicable laws and
           the Company’s policies. Each member of the Audit Committee shall be
 7         entitled to rely on: (i) persons and organizations within and outside the
 8         Company from which the Audit Committee receives information, and (ii) the
           accuracy of the financial and other information provided to the Audit
 9         Committee, either instance absent actual knowledge to the contrary.
10
           100. In violation of the Palo Alto Audit Committee Charter, Defendants McCarthy,
11
     Key, Goetz, and Bawa conducted little, if any, oversight of the Company’s engagement in
12
     the Individual Defendants’ scheme to issue materially false and misleading statements to
13
     the public and to facilitate and disguise the Individual Defendants’ violations of law,
14
     including breaches of fiduciary duty, unjust enrichment, gross mismanagement, abuse of
15
     control, waste of corporate assets, and violations of Section 14(a) of the Exchange Act.
16
     Moreover, in violation of the Palo Alto Audit Committee Charter, Defendants McCarthy,
17
     Key, Goetz, and Bawa failed to maintain the accuracy of Company records and reports,
18
     comply with laws and regulations, act in good faith and diligence without misstating,
19
     misrepresenting, or omitting material facts, and properly report violations of the Palo Alto
20
     Audit Committee Charter.
21
22                      INDIVIDUAL DEFENDANTS’ MISCONDUCT
23         Background
24         101.   Palo Alto is a Delaware corporation located in California. The Company
25   provides cybersecurity services internationally in four core areas: network security, cloud
26   security, security operations, and threat intelligence and security counseling. Palo Alto’s
27
28
                                                 33
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 1
     products range from hardware and software firewalls to subscription-based services such
 2
     as advanced threat protection, security services, and cloud security.
 3
           102. Palo Alto’s security operations division involves security automation, security
 4
     analytics, endpoint security, and attack surface management solutions through Cortex
 5
     XSIAM (which employs AI technology), Cortex XDR, Cortex XSOAR, and Cortex
 6
     Xpanse.
 7
           103. Cortex XSIAM is advertised as the “AI security automation platform for the
 8
     modern SOC, harnessing the power of AI to radically improve security outcomes and
 9
     transform security operations.”
10
           104. At the start of the Relevant Period, Defendant Arora portrayed Cortex XSIAM
11
     and Palo Alto’s wider AI offerings in the following fashion: “[w]e continue to drive
12
     platformization and capitalize on the opportunity the changing landscape presents for
13
     products like XSIAM.” He further emphasized that the Company was “uniquely positioned
14
     in the industry” to produce AI-based outcomes to its customers.
15
           105.   Shortly thereafter, in November 2023, Defendant Klarich further emphasized
16
     the progress of Cortex XSIAM and AI’s capabilities to improve Palo Alto by stating that
17
     the Company saw “very strong” customer interest in its AI technology and automation for
18
     the “fastest sort of growth of a new product that we’ve ever seen.”
19
           106. Before the Relevant Period, the Company reported consistent growth in
20
     revenue and billings—a “key financial metric” according to Palo Alto—that provides
21
     “investors with an important indicator of the health and visibility of our business because
22
     it includes subscription and support revenue, which is recognized ratably over the
23
     contractual service period, and product revenue, which is recognized at the time of
24
     hardware shipment or delivery of software license.” Indeed, in the last five years, the
25
     Company has dramatically widened its product offerings, and in the process, has emerged
26
     as a holistic cybersecurity platform. This growth has led to Palo Alto making the
27
     consolidation of customers a key strategy for the Company moving forward.
28
                                                  34
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 1
           107. During the Relevant Period, Palo Alto maintained that the Company’s
 2
     consolidation of customers and “platformization” initiatives were powering the Company’s
 3
     growth. For instance, Defendant Arora made the following representation in November
 4
     2023, that Palo Alto “launched an AI-enabled cloud manager in network security to
 5
     continue our consolidation and platformization efforts towards Zero Trust.” Zero trust is a
 6
     strategic cybersecurity method that validates each and every stage of a digital interaction.
 7
     Defendant Golechha also represented during the Relevant Period that “we see strong
 8
     demand in the market and continue to see customers make a technical selection of offerings
 9
     across our portfolio.”
10
           108. Simultaneously, the Company faced staunch competition from other
11
     cybersecurity-focused companies, including CrowdStrike, Zscaler, Cloudflare, and
12
     Microsoft. For instance, in May 2023, Crowdstrike released a new generative AI
13
     cybersecurity system of its own, coined Charlotte AI and another AI and automation-
14
     centered tool, Falcon for IT, in September 2023. Just months later, in November 2023,
15
     Microsoft enhanced its cybersecurity offerings with AI when it released Microsoft Security
16
     Copilot, a new generative AI solution that was marketed as a Zero trust solution intended
17
     to make a “flywheel of protection to change the asymmetry of the digital threat
18
     landscape[.]”
19
           109. However, contrary to the Individual Defendants’ representations that there
20
     was “strong demand in the market,” “strong interest across our next-generation security
21
     portfolio,” and that “platformization is continuing to drive large deal momentum,” the
22
     Company was languishing the cybersecurity market’s crowded and competitive
23
     environment. Consequently, the Individual Defendants left investors and the public
24
     completely in the dark as to Palo Alto’s need to implement customer incentives to sustain
25
     growth and that the Company’s impressive growth in its billing metric—a self-proclaimed
26
     key metric—was not sustainable.
27
28
                                                 35
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 1
           110. During the Relevant Period, the Individual Defendants breached their
 2
     fiduciary duties by failing to correct and/or causing the Company to fail to correct these
 3
     false and misleading statements and omissions of material fact while seven of the
 4
     Individual Defendants engaged in insider trading while the Company’s stock was
 5
     artificially inflated from the Individual Defendants’ false and misleading statements.
 6
     Specifically, the Individual Defendants willfully or recklessly made and caused Palo Alto
 7
     to make false and misleading statements and omissions of material fact that failed to
 8
     disclose, inter alia, that: (i) the Company’s platformization and consolidation initiatives
 9
     were not being adopted by customers and therefore not driving increased market share; (ii)
10
     as a result, the Company’s new AI offerings were not facilitating platformization and
11
     consolidation; (iii) the Company needed to increase platformization, free product offerings,
12
     and other incentives to attract new customers; (iv) Palo Alto’s high billing growth was not
13
     sustainable; (iv) the Company could not close deals with the U.S. Federal Government in
14
     Fiscal Year 2024; and (v) as a result, there was a substantial risk that the Company would
15
     be forced to revise Fiscal Year 2024 expectations. As a result, Individual Defendants’
16
     representations regarding the Company’s business, operations, and prospects were
17
     materially misleading at all relevant times.
18
           111. In further breach of their fiduciary duties, the Individual Defendants failed to
19
     maintain internal controls while seven of the Individual Defendants engaged in lucrative
20
     insider trading, reaping personal profits exceeding $265 million.
21
                                 False and Misleading Statements
22
     August 18, 2023 Earnings Conference Call
23
           112. On August 18, 2023, the Company held an earnings conference call regarding
24
     its 2023 Fiscal Year results. During the call, Defendant Arora stated the following about
25
     Palo Alto’s platformization, in relevant part:
26
27         This quarter, we added more new ARR than any other pure-play cybersecurity
           company. Our platformization is continuing to drive large deal momentum.
28
                                                    36
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 1        One way to illustrate the traction of our next-generation security capability
 2        across network security, cloud security and SOC automation, so look at the
          makeup of some of our largest deals.
 3                                              ***
 4        We continue to drive platformization and capitalize on the opportunity the
          changing landscape presents for products like XSIAM. We continued with
 5        our go-to-market transformation. For example, we consolidated our SASE
 6        sales team into our core a year ago, and we had a strong outcome, as you saw,
          with some large transactions and opportunities across the pipeline.
 7
                                                ***
 8
          We talked about platformization or you’ve heard that word, you will keep
 9        hearing it to the next sort of 45 minutes from our team because we believe
          that’s the way to deliver security, is resonating with our customers. Our
10
          customers are seeing it. My team is going to show you some amazing UI.
11        I think you’re going to start seeing not only just we’re talking about this sort
          of the next level of platformization. You will start seeing, right after me, how
12
          we actually bring it to life. So I cannot be more excited about some of the
13        work we’re doing on the product side, stuff that we haven't shown anybody
          yet. You are going to see it today because it’s important for us not just to talk
14
          about it, be able to show you how we’re going to deliver.
15
          So you will see a next level of integration and how we can deliver security
16        outcomes. You'll see sneak peeks into how we're going to leverage AI
17        copilots in each of our products to create the simplicity and usability that
          security has not had, to be honest, so far. So I couldn't be more excited about
18        how our teams are going to keep driving more and more platformization,
19        more and more integration, where things of integrating best-of-breed vendors
          as sort of DIY or do it yourself or do it home is going to be a thing of the past.
20
          113. Defendant Arora also discussed the Company’s future AI capabilities.
21
22   Defendant Arora emphasized the following:
23
          And over the next possibly 3, 6, 9 months, you will see more and more
24        capability delivered to our customers using that generative AI framework or
25        predictive AI or precision AI framework. I think in the next 3 to 5 years, that
          is going to fundamentally change what Palo Alto is able to do out there in the
26        market. And as I said, we cannot do this without the best people.
27        September 7, 2023 Conference Call
28
                                                 37
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 1
             114. On September 7, 2023, the Company held a conference call with analysts and
 2
     investors. During the call, an analyst inquired about whether Palo Alto could attain the
 3
     security “equivalent of a Workday or a Salesforce or a ServiceNow” after the development
 4
     of “consolidated platforms in cybersecurity[,]” as Defendant Arora had priorly stated, with
 5
     the “3 platforms [network security, cloud security, and SOC transformation] you have
 6
     today?”
 7
             115. Defendant Arora replied: “Yes. Yes. I think our newest platform around the
 8
     SOC is -- has tremendous potential. I think that's kind of the integrated platform. Most
 9
     of our competitors in that space are 15-year old tech. I think it’s the CrowdStrike, Palo
10
     Alto, SentinelOne moment that happened to endpoints, which is happening to SOC except
11
     to standard SOCs.”
12          October 27, 2023 Proxy Statement
13           116. On October 27, 2023, the Company filed its 2023 Proxy Statement with the
14   SEC. Defendants Donovan, Key, McCarthy, Zuk, Twohill, Gayle, Goetz, Arora, Bawa,
15   and Eschenbach solicited the 2023 Proxy Statement, filed pursuant to Section 14(a) of the
16   Exchange Act, which contained material misstatements and omissions.
17           117. The 2023 Proxy Statement called for Company shareholders to vote to, inter
18   alia: (1) re-elect Defendants Arora, Bawa, Eschenbach, and Twohill to the Board for a
19   three-year term; (2) ratify the appointment of Ernst & Young LLP as the independent
20   registered public accounting firm of the Company for the 2023 Fiscal Year; (3) approve,
21   on an advisory basis, the Company’s executive compensation; and (4) approve an
22   amendment to the 2021 Palo Alto Networks, Inc. Equity Incentive Plan (“2021 Incentive
23   Plan”) to increase the number of shares reserved for issuance under the 2021 Incentive
24   Plan.
25           118. Regarding “The Board’s Role in Risk Oversight,” the 2023 Proxy Statement
26   stated the following, in relevant part:
27          Risk is inherent with every business, including strategic, financial, business
            and operational, legal and compliance, and reputational. We have designed
28
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 1         and implemented processes to manage risk in our operations. Management is
 2         responsible for the day-to-day management of risks our Company faces, while
           our Board, as a whole and assisted by its committees, has responsibility for
 3         the oversight of risk management. In its risk oversight role, our Board has the
 4         responsibility to satisfy itself that the risk management processes designed
           and implemented by management are appropriate and functioning as
 5         designed.
 6         Our Board believes that open communication between management and our
 7         Board is essential for effective risk management and oversight.
 8         While our Board is ultimately responsible for risk oversight, our Board
 9         committees assist our Board in fulfilling its oversight responsibilities in
           certain areas of risk.
10
11         119. Regarding Palo Alto’s Code, the 2023 Proxy Statement stated the following:
           Our Board has adopted Corporate Governance Guidelines. These guidelines
12
           address items such as the qualifications and responsibilities of our directors
13         and director candidates and corporate governance policies and standards
           applicable to us in general. In addition, our Board has adopted a Code of
14
           Business Conduct and Ethics that applies to all our employees, officers and
15         directors, including our Chief Executive Officer, Chief Financial Officer, and
           other executive and senior financial officers. Our Corporate Governance
16
           Guidelines and our Code of Business Conduct and Ethics are posted on the
17         Investor       Information      portion       of      our     website        at
           investors.paloaltonetworks.com. We will post amendments to our Code of
18
           Business Conduct and Ethics or waivers of our Code of Business Conduct and
19         Ethics for directors and executive officers on the same website.
20         120. The 2023 Proxy Statement was materially false and misleading because it
21   failed to disclose that, inter alia, that: (1) though the Company claimed its officers and
22   directors adhered to the Code of Conduct, the Individual Defendants violated these policies
23   either without waivers or without such waivers being disclosed; and (2) contrary to the
24   2023 Proxy Statement’s descriptions of the Board’s and its committees’ risk oversight
25   functions, the Board and its committees were not adequately exercising these functions and
26   were causing or permitting the Company to issue false and misleading statements.
27         121. The 2023 Proxy Statement was also materially false and misleading because
28   it failed to disclose, inter alia, that: (i) the Company’s platformization and consolidation
                                                 39
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 1
     initiatives were not being adopted by customers and therefore not driving increased market
 2
     share; (ii) as a result, the Company’s new AI offerings were not facilitating platformization
 3
     and consolidation; (iii) the Company needed to increase platformization, free product
 4
     offerings, and other incentives to attract new customers; (iv) Palo Alto’s high billing
 5
     growth was not sustainable; (iv) the Company could not close deals with the U.S. Federal
 6
     Government in Fiscal Year 2024; and (v) as a result, there was a substantial risk that the
 7
     Company would be forced to revise Fiscal Year 2024 expectations.
 8
           122. As a result of Defendants Donovan, Key, McCarthy, Zuk, Twohill, Gayle,
 9
     Goetz, Arora, Bawa, and Eschenbach causing the 2023 Proxy Statement to be false and
10
     misleading, Company shareholders voted, inter alia, to re-elect Defendants Arora, Bawa,
11
     Eschenbach, and Twohill to the Board, thus allowing them to continue breaching their
12
     fiduciary duties to the Company and approve an amendment to the 2021 Incentive Plan to
13
     increase the number of shares reserved for issuance under the 2021 Incentive Plan.
14
15         November 15, 2023, Earnings Call
           123. On November 15, 2023, the Company held an earnings conference call.
16
     During this call, Defendant Arora reported the progress of Palo Alto’s platformization and
17
     consolidation. Defendant Arora stated:
18
           On the macroeconomic front, business practices continue to adapt and adjust
19         to new normal with higher interest rates for longer. Internally, on the product
20         side, we've had one of the strongest starts to our fiscal year. In addition to
           various recognitions, we have delivered strong innovation across all 3
21         platforms. We launched an AI-enabled cloud manager in network security
22         to continue our consolidation and platformization efforts towards Zero
           Trust.
23
                                                  ***
24
           We continue to see strong interest across our next-generation security
25         portfolio, and we’re making progress on our platformization journey. I’ll
           highlight a few deals to talk about the diversity of opportunity, cross-platform
26
           buys as well as the geographical distribution of our deals.
27
28
                                                  40
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 1         For example, a federal government agency signed a $25 million expansion
 2         transaction, including adding Cortex XDR and Prisma Access in highly
           competitive situations, expanding their network security footprint. This
 3         customer has now spent over $100 million over its lifetime across our [ chief
 4         ] platform. A large global SaaS provider signed an $18 million Prisma Cloud
           transaction to consume modules across the portfolio. The customer is already
 5         a customer for our network security and Cortex platforms. A large educational
 6         organization expanded its relationship with us in the first quarter in a $15
           million transaction, adding XSIAM, Prisma Cloud and an expansion of its
 7         network security footprint. And lastly, a nation state signed a $28 million deal.
 8         That is a first of its kind, standardizing on both SASE and XSIAM. This is a
           long sales cycle and represents our systematic approach to platformization.
 9
10         124. In reporting the progress of the Company’s new products and consolidation
11   efforts, Defendant Arora stated:
12
            Let’s turn on to updates from our 3 platforms that are the engine driving our
13          success. First, in network security.We continue to drive innovation across our
            portfolio and see momentum as customers drive towards Zero Trust
14
            architecture. This month, we unveiled PAN-OS 11.1 or Cosmos and Strata
15          Cloud Manager, unifying the management of all of our 3 form factors and
            all security services in a single pane of glass and also leveraging AI to
16
            analyze security policies, reduce risk configurations and predict and
17          prevent disruptions.
18          Customers who invest in our platform by deploying all 3 form factors
19          continue to grow rapidly, up 34%. Of our top 100 network security
            customers, 60% have purchased all 3 form factors, up from 53% a year
20          ago. On average, these platform customers spend more than 15x of the rest
21          of our network security customer spend.
22          125. In replying to an analyst’s inquiry pertaining to the Cortex XSIAM pipeline,

23   Defendant Klarich stated the following:

24          Yes, were -- look, we’ve obviously over the last few quarters talked about
25          XSIAM, and the interest we’re seeing from customers is very strong. And
            it’s been the fastest sort of growth of a new product that we’ve ever seen. I
26          think it speaks to a couple of things. One is just the need in the market from
27          customers to go through the SOC transformation. Nikesh talked about the
            speed of attacks increasing relative to disclosure requirements and things like
28
                                                  41
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 1           that. And obviously, the number of attacks simply going up as well. That's
 2           driving the technology need to have a different solution, a better solution,
             one driven by AI and automation. And that's exactly how XSIAM was built,
 3           and that is what’s fueling the interest.
 4
             The second part of this is with XSIAM, we're able to replace several of the
 5           customers’ legacy point solutions in the SOC. So we are consolidating
 6           multiple independent piece parts with a single XSIAM deployment. And
             third, with each deployment of XSIAM, this is a significant investment the
 7           customer is making in us. So it would vary with those [ investments ] for 3-
 8           year investments, in some cases, even longer, because they are
             standardizing their SOC on a new platform. They want that long-term
 9           runway with us. This is not a short-term decision they're making. So all of
10           those factors are what are fueling the strong pipeline that we shared and
             the early customer success we're having with XSIAM.
11
             126. Addressing the use of heavy discounts and deferred payment terms, Defendant
12
     Golechha assured investors that the Company had a firm financial position. Defendant
13
     Golechha stated:
14
15          Before turning to guidance, I want to frame some of the impacts that we’re
            seeing on our billings. As Nikesh noted, we see strong demand in the market
16          and continue to see customers make a technical selection of offerings across
17          our portfolio. From here, we see more customers asking for deferred
            payment terms either with annual billings, financing through PANFS or
18          pursuing external financing. Some customers are looking for additional
19          discounts for upfront payments as they grapple with the cost of money. Our
            strong financial position, which includes $7 billion in cash, cash
20          equivalents and investments, combined with our many options in dealing
21          with this dynamic, gives us significant flexibility. This can impact our billings
            trends quarter-to-quarter, and we’re reducing our billings guidance to account
22          for this through the fiscal year 2024.
23
            127. Defendant Arora also gave a report on Palo Alto’s billing metric and financial
24
     flexibility, stating:
25
26          In Q1, the cost of money remained a constant discussion and customers’
            significant focus on this topic is becoming the new normal. The way it
27          manifests itself in our business is that there's always a payment and
28          duration discussion in final renegotiations. Given our strong balance sheet,
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 1          we can use a mix of strategies to navigate the environment. This includes
 2          annual billing plans, financing through PANFS and partner financing.
            Whilst this does not impact our business demand or impact to annual
 3          revenue or annual metrics, it does create variability on total billings more
 4          than before, depending on financing use or the duration of contracts.

 5          I am not concerned about the demand for cybersecurity for this quarter and
            upcoming quarters nor am I concerned about our ability to execute. The
 6          billings variability is a pure consequence of the payment conversations that
 7          we're having with our customers, and this is validated by the fact that we
            continue to see strong RPO and low churn, suggesting this is a cosmetic
 8
            impact to our business.
 9          November 29, 2023 UBS Technology Conference
10          128. On November 29, 2023, Defendant Arora attended the UBS Technology
11   Conference on behalf of Palo Alto. During the conference, Defendant Arora responded to
12   an analyst’s inquiry pertaining to the competitive standing of the Company in the following
13   way:
14          The way I think about competition, remember, 5 years ago, we had 1.5%
            market share of $180 billion market. We're probably at 3.5% now, which
15
            means 96% of the time, somebody else has got the business. This -- I live
16          happily with competition. It’s great. It's wonderful, drives more innovation.
            Our platformization continues to get us more and more share. The more
17
            people that are in the market, the more innovation there is, the more they could
18          tell customers and saying, listen, you should move to SASE.
19          129. The aforementioned statements referenced in ¶¶ 112-115 and 123-128 were
20   materially false and misleading when made because they failed to disclose inter alia, that:
21   (i) the Company’s platformization and consolidation initiatives were not being adopted by
22   customers and therefore not driving increased market share; (ii) as a result, the Company’s
23   new AI offerings were not facilitating platformization and consolidation; (iii) the Company
24   needed to increase platformization, free product offerings, and other incentives to attract
25   new customers; (iv) Palo Alto’s high billing growth was not sustainable; (iv) the Company
26   could not close deals with the U.S. Federal Government in Fiscal Year 2024; and (v) as a
27   result, there was a substantial risk that the Company would be forced to revise Fiscal Year
28   2024 expectations. As a result, Individual Defendants’ representations regarding the
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 1
     Company’s business, operations, and prospects were materially misleading at all relevant
 2
     times.
 3
 4                                      The Truth Emerges

 5            February 20, 2024 Press Release
 6            130. The truth emerged on February 20, 2024. After the market closed, Palo Alto
 7   released its second quarter fiscal 2024 financial results and significantly lowered its full
 8   year revenue and billing guidance. Specifically, the press release revealed total billings
 9   growth of two to four percent and revenue growth between thirteen and fifteen percent.
10   The press release featured a statement from Defendant Arora: “With this backdrop, we are
11   activating our accelerated platformization and consolidation strategy, as well as our AI
12   leadership strategy.”
13            February 20, 2024 Earnings Call
14            131. On that same day, in an earnings call, Defendant Arora revealed that Palo
15   Alto’s “guidance is a consequence of us driving a shift in our strategy in wanting to
16   accelerate both our platformization and consolidation and activating our AI leadership.”
17   Consequently, he announced that the Company would “bear the cost of the transition
18   through lower upfront financial outcomes.”
19            132. Importantly, Defendant Arora admitted that Palo Alto would now “expect a
20   typical customer entering into a platformization transaction will not pay us for our
21   technology for a period of time.” Defendant Arora partly attributed the situation to
22   “spending fatigue in cybersecurity.”
23            133. Defendant Arora also revealed that, although the Company was “positioned
24   well for several large projects where we had requisite certifications and one technical
25   selection” for several U.S. Federal Government deals, “these deals did not close,” which
26   resulted in “a significant shortfall in our U.S. federal government business” expected to
27
28
                                                 44
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 1
     continue into the third and fourth quarters of 2024. Defendant Arora alleged, “the situation
 2
     started off towards the end of Q1” and “worsened in Q2.”
 3
           134. The Press Release for the second quarter of 2024 reported the following
 4
     revised expectations, in relevant part:
 5
           For the fiscal third quarter 2024, we expect:
 6
 7               • Total billings in the range of $2.30 billion to $2.35 billion,
                   representing year-over-year growth of between 2% and 4%.
 8               • Total revenue in the range of $1.95 billion to $1.98 billion,
 9                 representing year-over-year growth of between 13% and 15%.
                 • Diluted non-GAAP net income per share in the range of $1.24 to $1.26,
10                 using 347 million to 351 million shares outstanding.
11
           For the fiscal year 2024, we are updating guidance and expect:
12
13               • Total billings in the range of $10.10 billion to $10.20 billion,
                   representing year-over-year growth of between 10% and 11%.
14               • Total revenue in the range of $7.95 billion to $8.00 billion,
15                 representing year-over-year growth of between 15% and 16%.
                 • Non-GAAP operating margin in the range of 26.5% to 27.0%.
16               • Diluted non-GAAP net income per share in the range of $5.45 to $5.55,
17                 using 345 million to 347 million shares outstanding.
                 • Adjusted free cash flow margin in the range of 38.0% to 39.0%.
18
19         135. On this news, Palo Alto’s common stock fell $104.12 per share, from a closing
20   price of $366.09 on February 21, 2024 to close at $261.97 per share, a 28.4% decline, on
21   February 21, 2024.
22                                 DAMAGES TO PALO ALTO
23         136. As a direct and proximate result of the Individual Defendants’ conduct, Palo
24   Alto has lost and will continue to lose and expend many millions of dollars.
25         137. Such expenditures include, but are not limited to, legal fees, costs, and any
26   payments for resolution of or to satisfy a judgment associated with the Securities Class
27   Actions, and amounts paid to outside lawyers, accountants, and investigators in connection
28   thereto.
                                                 45
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 1
           138. Such expenditures also include, but are not limited to, fees, costs, and any
 2
     payments for resolution of or to satisfy judgments associated with any other lawsuits filed
 3
     against the Company or the Individual Defendants based on the misconduct alleged herein,
 4
     and amounts paid to outside lawyers, accountants, and investigators in connection thereto.
 5
           139. Such expenditures will also include costs incurred in any internal
 6
     investigations pertaining to violations of law, costs incurred in defending any
 7
     investigations or legal actions taken against the Company due to its violations of law, and
 8
     payments of any fines or settlement amounts associated with the Company’s violations.
 9
           140. Additionally, these expenditures include, but are not limited to, unjust
10
     compensation, benefits, and other payments provided to the Individual Defendants who
11
     breached their fiduciary duties to the Company.
12
           141. Moreover, these expenditures include, but are not limited to, unjust
13
     compensation, benefits, and other payments provided to the Individual Defendants who
14
     breached their fiduciary duties to the Company, including the personal profits of the four
15
     Individual Defendants who engaged in lucrative insider sales, netting proceeds of
16
     approximately $265 million during the Relevant Period.
17
           142. As a direct and proximate result of the Individual Defendants’ conduct, Palo
18
     Alto has also suffered and will continue to suffer a loss of reputation and goodwill, and a
19
     “liar’s discount” that will plague the Company’s stock in the future due to the Company’s
20
     and their misrepresentations.
21
                                DERIVATIVE ALLEGATIONS
22
           143. Plaintiff brings this action derivatively and for the benefit of Palo Alto to
23
     redress injuries suffered, and to be suffered, as a result of the Individual Defendants’
24
     breaches of their fiduciary duties as directors and/or officers of Palo Alto, unjust
25
     enrichment, abuse of control, gross mismanagement, waste of corporate assets, and
26
     violations of Section 14(a) of the Exchange Act.
27
           144. Palo Alto is named solely as a nominal party in this action. This is not a
28
                                                 46
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 1
     collusive action to confer jurisdiction on this Court that it would not otherwise have.
 2
           145. Plaintiff is, and has been during the Relevant Period, a shareholder of Palo
 3
     Alto. Plaintiff will adequately and fairly represent the interests of Palo Alto in enforcing
 4
     and prosecuting its rights, and, to that end, has retained competent counsel, experienced in
 5
     derivative litigation, to enforce and prosecute this action.
 6
                              DEMAND FUTILITY ALLEGATIONS
 7
           146. Plaintiff incorporates by reference and realleges each and every allegation
 8
     stated above as if fully set forth herein.
 9
           147. A pre-suit demand on the Board is futile and, therefore, excused. When this
10
     action was filed, Palo Alto’s Board consisted of Defendants Donovan, Key, McCarthy,
11
     Zuk, Twohill, Gayle, Goetz, Arora, Bawa, and Eschenbach (the “Director-Defendants”).
12
     Plaintiff needs only to allege demand futility as to five of the ten Directors that were on the
13
     Board at the time this action was filed.
14
           148. Demand is excused as to all of the Director-Defendants because each one of
15
     them faces, individually and collectively, a substantial likelihood of liability as a result of
16
     the scheme they engaged in knowingly or recklessly to make and/or cause the Company to
17
     make false and misleading statements and omissions of material fact, all of which renders
18
     the Director-Defendants unable to impartially investigate the charges and decide whether
19
     to pursue action against themselves and the other perpetrators of the scheme.
20
           149. In complete abdication of their fiduciary duties, the Director-Defendants
21
     either knowingly or recklessly caused or permitted Palo Alto to issue materially false and
22
     misleading statements. Specifically, the Director-Defendants caused Palo Alto to issue
23
     false and misleading statements which were intended to make Palo Alto appear more
24
     profitable and attractive to investors. Moreover, the Director-Defendants caused the
25
     Company to fail to maintain internal controls. As a result of the foregoing, the Director-
26
     Defendants breached their fiduciary duties, face a substantial likelihood of liability, are not
27
     disinterested, and demand upon them is futile, and thus excused.
28
                                                   47
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 1
           150. Additional reasons that demand on Defendant Arora is futile follow.
 2
     Defendant Arora has served as the Company’s CEO since June 2019 and as the Chairman
 3
     of the Board since June 2018. Thus, as the Company admits, he is non independent director.
 4
     Defendant Arora has received and continues to receive extraordinary compensation for his
 5
     role as CEO and Chairman of the Board, including $151,425,203 in the 2023 Fiscal Year
 6
     alone. In addition, Defendant Arora solicited the 2023 Proxy Statement, which contained
 7
     false and misleading elements which led to shareholders reelecting him, along with
 8
     Defendants Bawa, Eschenbach, and Twohill to the Board, allowing them to continue
 9
     breaching their fiduciary duties to the Company and also led shareholders to vote to
10
     approve an amendment to the 2021 Incentive Plan which authorized the issuance of
11
     additional Company common stock to be used for the Individual Defendants’ future
12
     compensation. Additionally, Defendant Arora engaged in lucrative insider trading while
13
     the Company’s stock price was artificially inflated as a result of the Individual Defendants’
14
     false and misleading statements, exceeding $159.7 million in proceeds. As a trusted
15
     Company director, the Company’s highest officer, and the Chairman of the Board, he
16
     conducted little, if any, oversight of the scheme to cause the Company to make false and
17
     misleading statements, consciously disregarded his duties to monitor internal controls over
18
     reporting and engagement in the scheme, and consciously disregarded his duties to protect
19
     corporate assets. For these reasons, Defendant Arora breached his fiduciary duties, faces a
20
     substantial likelihood of liability, is not independent or disinterested, and thus demand
21
     upon him is futile and, therefore, excused.
22
           151. Additional reasons that demand on Defendant Zuk is futile follow. Defendant
23
     Zuk founded the Company and has served as the Company’s CTO and as a Company
24
     director since March 2005. Thus, as the Company admits, he is non independent director.
25
     Defendant Zuk has received and continues to receive handsome compensation for his role
26
     as CTO and as a Company director, including $8,086,212 in the 2023 Fiscal Year alone.
27
     In addition, Defendant Zuk solicited the 2023 Proxy Statement, which contained false and
28
                                                   48
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 1
     misleading elements which led to shareholders reelecting Defendants Arora, Bawa,
 2
     Eschenbach, and Twohill to the Board, allowing them to continue breaching their fiduciary
 3
     duties to the Company and also led shareholders to vote to approve an amendment to the
 4
     2021 Incentive Plan which authorized the issuance of additional Company common stock
 5
     to be used for the Individual Defendants’ future compensation. Additionally, Defendant
 6
     Zuk engaged in lucrative insider trading while the Company’s stock price was artificially
 7
     inflated as a result of the Individual Defendants’ false and misleading statements,
 8
     exceeding $33.1 million in proceeds. As a trusted Company director and as a Company
 9
     officer, he conducted little, if any, oversight of the scheme to cause the Company to make
10
     false and misleading statements, consciously disregarded his duties to monitor internal
11
     controls over reporting and engagement in the scheme, and consciously disregarded his
12
     duties to protect corporate assets. For these reasons, Defendant Zuk breached his fiduciary
13
     duties, faces a substantial likelihood of liability, is not independent or disinterested, and
14
     thus demand upon him is futile and, therefore, excused.
15
           152. Additional reasons that demand on Defendant Bawa is futile follow.
16
     Defendant Bawa has served as a Company director since May 2021. Defendant Bawa also
17
     serves as a member of the Audit and Compensation and People Committees. Defendant
18
     Bawa has received and continues to receive handsome compensation for her role as a
19
     director, including $356,383 in the 2023 Fiscal Year alone. In addition, Defendant Bawa
20
     solicited the 2023 Proxy Statement, which contained false and misleading elements which
21
     led to shareholders reelecting herself and Defendants Arora, Eschenbach, and Twohill to
22
     the Board, allowing them to continue breaching their fiduciary duties to the Company and
23
     also led shareholders to vote to approve an amendment to the 2021 Incentive Plan which
24
     authorized the issuance of additional Company common stock to be used for the Individual
25
     Defendants’ future compensation. As a trusted Company director and as a Company
26
     officer, she conducted little, if any, oversight of the scheme to cause the Company to make
27
     false and misleading statements, consciously disregarded her duties to monitor internal
28
                                                  49
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 1
     controls over reporting and engagement in the scheme, and consciously disregarded her
 2
     duties to protect corporate assets. For these reasons, Defendant Bawa breached her
 3
     fiduciary duties, faces a substantial likelihood of liability, is not independent or
 4
     disinterested, and thus demand upon her is futile and, therefore, excused.
 5
           153. Additional reasons that demand on Defendant Donovan is futile follow.
 6
     Defendant Donovan has served as a Company director since September 2012. Defendant
 7
     Donovan also serves as a member of the Compensation and People Committee. Defendant
 8
     Donovan has received and continues to receive handsome compensation for his role as a
 9
     director, including $413,931 in the 2023 Fiscal Year alone. In addition, Defendant
10
     Donovan solicited the 2023 Proxy Statement, which contained false and misleading
11
     elements which led to shareholders reelecting Defendants Arora, Bawa, Eschenbach, and
12
     Twohill to the Board, allowing them to continue breaching their fiduciary duties to the
13
     Company and also led shareholders to vote to approve an amendment to the 2021 Incentive
14
     Plan which authorized the issuance of additional Company common stock to be used for
15
     the Individual Defendants’ future compensation. Additionally, Defendant Donovan
16
     engaged in lucrative insider trading while the Company’s stock price was artificially
17
     inflated as a result of the Individual Defendants’ false and misleading statements,
18
     exceeding $41.3 million in proceeds. As a trusted Company director and as a Company
19
     officer, he conducted little, if any, oversight of the scheme to cause the Company to make
20
     false and misleading statements, consciously disregarded his duties to monitor internal
21
     controls over reporting and engagement in the scheme, and consciously disregarded his
22
     duties to protect corporate assets. For these reasons, Defendant Donovan breached his
23
     fiduciary duties, faces a substantial likelihood of liability, is not independent or
24
     disinterested, and thus demand upon him is futile and, therefore, excused.
25
           154. Additional reasons that demand on Defendant Eschenbach is futile follow.
26
     Defendant Eschenbach has served as a Company director since May 2013. Defendant
27
     Eschenbach has received and continues to receive handsome compensation for his role as
28
                                                 50
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 1
     a director, including $337,254 in the 2023 Fiscal Year alone. In addition, Defendant
 2
     Eschenbach solicited the 2023 Proxy Statement, which contained false and misleading
 3
     elements which led to shareholders reelecting himself and Defendants Arora, Bawa, and
 4
     Twohill to the Board, allowing them to continue breaching their fiduciary duties to the
 5
     Company and also led shareholders to vote to approve an amendment to the 2021 Incentive
 6
     Plan which authorized the issuance of additional Company common stock to be used for
 7
     the Individual Defendants’ future compensation. As a trusted Company director and as a
 8
     Company officer, he conducted little, if any, oversight of the scheme to cause the Company
 9
     to make false and misleading statements, consciously disregarded his duties to monitor
10
     internal controls over reporting and engagement in the scheme, and consciously
11
     disregarded his duties to protect corporate assets. For these reasons, Defendant Eschenbach
12
     breached his fiduciary duties, faces a substantial likelihood of liability, is not independent
13
     or disinterested, and thus demand upon him is futile and, therefore, excused.
14
           155. Additional reasons that demand on Defendant Gayle is futile follow.
15
     Defendant Gayle has served as a Company director since May 2021. Defendant Gayle has
16
     received and continues to receive handsome compensation for her role as a director,
17
     including $346,738 in the 2023 Fiscal Year alone. In addition, Defendant Gayle solicited
18
     the 2023 Proxy Statement, which contained false and misleading elements which led to
19
     shareholders reelecting Defendants Arora, Eschenbach, Bawa, and Twohill to the Board,
20
     allowing them to continue breaching their fiduciary duties to the Company and also led
21
     shareholders to vote to approve an amendment to the 2021 Incentive Plan which authorized
22
     the issuance of additional Company common stock to be used for the Individual
23
     Defendants’ future compensation. As a trusted Company director and as a Company
24
     officer, she conducted little, if any, oversight of the scheme to cause the Company to make
25
     false and misleading statements, consciously disregarded her duties to monitor internal
26
     controls over reporting and engagement in the scheme, and consciously disregarded her
27
     duties to protect corporate assets. For these reasons, Defendant Gayle breached her
28
                                                  51
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 1
     fiduciary duties, faces a substantial likelihood of liability, is not independent or
 2
     disinterested, and thus demand upon her is futile and, therefore, excused.
 3
           156. Additional reasons that demand on Defendant Goetz is futile follow.
 4
     Defendant Goetz has served as a Company director since April 2005. In addition,
 5
     Defendant Goetz solicited the 2023 Proxy Statement, which contained false and misleading
 6
     elements which led to shareholders reelecting Defendants Arora, Eschenbach, Bawa, and
 7
     Twohill to the Board, allowing them to continue breaching their fiduciary duties to the
 8
     Company and also led shareholders to vote to approve an amendment to the 2021 Incentive
 9
     Plan which authorized the issuance of additional Company common stock to be used for
10
     the Individual Defendants’ future compensation. As a trusted Company director, he
11
     conducted little, if any, oversight of the scheme to cause the Company to make false and
12
     misleading statements, consciously disregarded his duties to monitor internal controls over
13
     reporting and engagement in the scheme, and consciously disregarded his duties to protect
14
     corporate assets. For these reasons, Defendant Goetz breached his fiduciary duties, faces a
15
     substantial likelihood of liability, is not independent or disinterested, and thus demand
16
     upon him is futile and, therefore, excused.
17
           157. Additional reasons that demand on Defendant Key is futile follow. Defendant
18
     Key has served as a Company director since April 2019. Defendant Key also serves as
19
     Chairperson of the Compensation and People Committee and is a member of the Audit
20
     Committee. Defendant Key has received and continues to receive handsome compensation
21
     for his role as a director, including $380,335 in the 2023 Fiscal Year alone. In addition,
22
     Defendant Key solicited the 2023 Proxy Statement, which contained false and misleading
23
     elements which led to shareholders reelecting Defendants Arora, Bawa, Eschenbach, and
24
     Twohill to the Board, allowing them to continue breaching their fiduciary duties to the
25
     Company and also led shareholders to vote to approve an amendment to the 2021 Incentive
26
     Plan which authorized the issuance of additional Company common stock to be used for
27
     the Individual Defendants’ future compensation. Additionally, Defendant Key engaged in
28
                                                   52
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 1
     lucrative insider trading while the Company’s stock price was artificially inflated as a result
 2
     of the Individual Defendants’ false and misleading statements, exceeding $709,175 in
 3
     proceeds. As a trusted Company director and as a Company officer, he conducted little, if
 4
     any, oversight of the scheme to cause the Company to make false and misleading
 5
     statements, consciously disregarded his duties to monitor internal controls over reporting
 6
     and engagement in the scheme, and consciously disregarded his duties to protect corporate
 7
     assets. For these reasons, Defendant Key breached his fiduciary duties, faces a substantial
 8
     likelihood of liability, is not independent or disinterested, and thus demand upon him is
 9
     futile and, therefore, excused.
10
           158. Additional reasons that demand on Defendant McCarthy is futile follow.
11
     Defendant McCarthy has served as a Company director since October 2016. Defendant
12
     McCarthy also serves as Chairperson of the Audit Committee. Defendant McCarthy has
13
     received and continues to receive handsome compensation for her role as a director,
14
     including $370,850 in the 2023 Fiscal Year alone. In addition, Defendant McCarthy
15
     solicited the 2023 Proxy Statement, which contained false and misleading elements which
16
     led to shareholders reelecting Defendants Arora, Bawa, Eschenbach, and Twohill to the
17
     Board, allowing them to continue breaching their fiduciary duties to the Company and also
18
     led shareholders to vote to approve an amendment to the 2021 Incentive Plan which
19
     authorized the issuance of additional Company common stock to be used for the Individual
20
     Defendants’ future compensation. Additionally, Defendant McCarthy engaged in lucrative
21
     insider trading while the Company’s stock price was artificially inflated as a result of the
22
     Individual Defendants’ false and misleading statements, exceeding $298,306 in proceeds.
23
     As a trusted Company director and as a Company officer, she conducted little, if any,
24
     oversight of the scheme to cause the Company to make false and misleading statements,
25
     consciously disregarded her duties to monitor internal controls over reporting and
26
     engagement in the scheme, and consciously disregarded her duties to protect corporate
27
     assets. For these reasons, Defendant McCarthy breached her fiduciary duties, faces a
28
                                                   53
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 1
     substantial likelihood of liability, is not independent or disinterested, and thus demand
 2
     upon her is futile and, therefore, excused.
 3
           159. Additional reasons that demand on Defendant Twohill is futile follow.
 4
     Defendant Twohill has served as a Company director since April 2019. Defendant Twohill
 5
     has received and continues to receive handsome compensation for her role as a director,
 6
     including $361,045 in the 2023 Fiscal Year alone. In addition, Defendant Twohill solicited
 7
     the 2023 Proxy Statement, which contained false and misleading elements which led to
 8
     shareholders reelecting herself along with Defendants Arora, Bawa, and Eschenbach to the
 9
     Board, allowing them to continue breaching their fiduciary duties to the Company and also
10
     led shareholders to vote to approve an amendment to the 2021 Incentive Plan which
11
     authorized the issuance of additional Company common stock to be used for the Individual
12
     Defendants’ future compensation. As a trusted Company director and as a Company
13
     officer, she conducted little, if any, oversight of the scheme to cause the Company to make
14
     false and misleading statements, consciously disregarded her duties to monitor internal
15
     controls over reporting and engagement in the scheme, and consciously disregarded her
16
     duties to protect corporate assets. For these reasons, Defendant Twohill breached her
17
     fiduciary duties, faces a substantial likelihood of liability, is not independent or
18
     disinterested, and thus demand upon her is futile and, therefore, excused.
19
           160. Additional reasons that demand on the Board is futile follow.
20
           161. Defendants McCarthy, Key, Goetz, and Bawa (the “Audit Committee
21
     Defendants”) served as members of the Audit Committee at all relevant times. As such,
22
     they were responsible for the effectiveness of the Company’s internal controls, the truth
23
     and accuracy of the Company’s financial statements, and the Company’s compliance with
24
     applicable laws and regulations. During the Relevant Period, they violated the Audit
25
     Committee Charter by engaging in or permitting the Company to engage in the
26
     dissemination of materially false and misleading statements to the public and to facilitate
27
     the Individual Defendants’ violations of law, including breaches of fiduciary duty and
28
                                                   54
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 1
     violations of the Exchange Act; failed to adequately exercise their risk management and
 2
     risk assessment functions; and failed to ensure adequate Board oversight of the Company’s
 3
     internal control over financial reporting, disclosure controls and procedures, and the Code
 4
     of Conduct. Thus, the Audit Committee Defendants breached their fiduciary duties, are not
 5
     independent or disinterested, and thus demand is excused as to them.
 6
           162. In violation of the Code of Conduct, the Director-Defendants conducted little,
 7
     if any, oversight of the Company’s engagement in the Individual Defendants’ scheme to
 8
     issue materially false and misleading statements to the public and to facilitate and disguise
 9
     the Individual Defendants’ violations of law, including breaches of fiduciary duty, unjust
10
     enrichment, abuse of control, gross mismanagement, waste of corporate assets, and
11
     violations of the Exchange Act. In further violation of the Code of Conduct, the Director-
12
     Defendants failed to comply with laws and regulations, maintain the accuracy of Company
13
     records and reports, avoid conflicts of interest, conduct business in an honest and ethical
14
     manner, and properly report violations of the Code of Conduct. Thus, the Director-
15
     Defendants face a substantial likelihood of liability and demand is futile as to them.
16
           163. Palo Alto has been and will continue to be exposed to significant losses due
17
     to the wrongdoing complained of herein, yet the Director-Defendants have not filed any
18
     lawsuits against themselves or any others who were responsible for that wrongful conduct
19
     to attempt to recover for Palo Alto any part of the damages Palo Alto suffered and will
20
     continue to suffer thereby. Thus, any demand upon the Directors would be futile.
21
           164. The Director-Defendants’ conduct described herein and summarized above
22
     could not have been the product of legitimate business judgment as it was based on bad
23
     faith and intentional, reckless, or disloyal misconduct. Thus, none of the Director-
24
     Defendants can claim exculpation from their violations of duty pursuant to the Company’s
25
     charter (to the extent such a provision exists). As a majority of the Director-Defendants
26
     face a substantial likelihood of liability, they are self-interested in the transactions
27
     challenged herein and cannot be presumed to be capable of exercising independent and
28
                                                  55
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 1
     disinterested judgment about whether to pursue this action on behalf of the shareholders of
 2
     the Company. Accordingly, demand is excused as being futile.
 3
            165. The acts complained of herein constitute violations of fiduciary duties owed
 4
     by Palo Alto’s officers and directors, and these acts are incapable of ratification.
 5
            166. The Director-Defendants may also be protected against personal liability for
 6
     their acts of mismanagement and breaches of fiduciary duty alleged herein by directors’
 7
     and officers’ liability insurance if they caused the Company to purchase it for their
 8
     protection with corporate funds, i.e., monies belonging to the stockholders of Palo Alto. If
 9
     there is a directors’ and officers’ liability insurance policy covering the Directors, it may
10
     contain provisions that eliminate coverage for any action brought directly by the Company
11
     against the Director-Defendants, known as, inter alia, the “insured-versus-insured
12
     exclusion.” As a result, if the Director-Defendants were to sue themselves or certain of the
13
     officers of Palo Alto, there would be no directors’ and officers’ insurance protection.
14
     Accordingly, the Director-Defendants cannot be expected to bring such a suit. On the other
15
     hand, if the suit is brought derivatively, as this action is brought, such insurance coverage,
16
     if such an insurance policy exists, will provide a basis for the Company to effectuate a
17
     recovery. Thus, demand on the Director-Defendants is futile and, therefore, excused.
18
            167. If there is no directors’ and officers’ liability insurance, then the Director-
19
     Defendants will not cause Palo Alto to sue the Individual Defendants named herein, since,
20
     if they did, they would face a large uninsured individual liability. Accordingly, demand is
21
     futile in that event, as well.
22
            168. Thus, for all of the reasons set forth above, all of the Director-Defendants,
23
     and, if not all of them, at least five of the Directors, cannot consider a demand with
24
     disinterestedness and independence. Consequently, a demand upon the Board is excused
25
     as futile.
26
                                     FIRST CLAIM
27    Against the Individual Defendants for Violations of Section 14(a) of the Exchange
                                            Act
28
                                                  56
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 1
           169. Plaintiff incorporates by reference and realleges each and every allegation set
 2
     forth above, as though fully set forth herein.
 3
           170. Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a)(1), provides that “[i]t
 4
     shall be unlawful for any person, by use of the mails or by any means or instrumentality of
 5
     interstate commerce or of any facility of a national securities exchange or otherwise, in
 6
     contravention of such rules and regulations as the [SEC] may prescribe as necessary or
 7
     appropriate in the public interest or for the protection of investors, to solicit or to permit
 8
     the use of his name to solicit any proxy or consent or authorization in respect of any security
 9
     (other than an exempted security) registered pursuant to section 12 of this title [15 U.S.C.
10
     § 78l].”
11
           171. Rule 14a-9, promulgated pursuant to § 14(a) of the Exchange Act, provides
12
     that no proxy statement shall contain “any statement which, at the time and in the light of
13
     the circumstances under which it is made, is false or misleading with respect to any material
14
     fact, or which omits to state any material fact necessary in order to make the statements
15
     therein not false or misleading.” 17 C.F.R. § 240.14a-9.
16
           172. Under the direction and watch of the Individual Defendants, the 2023 Proxy
17
     Statement failed to disclose, inter alia: (1) though the Company claimed its officers and
18
     directors adhered to the Code of Conduct, the Individual Defendants violated these policies
19
     either without waivers or without such waivers being disclosed; and (2) contrary to the
20
     2023 Proxy Statement’s descriptions of the Board’s and its committees’ risk oversight
21
     functions, the Board and its committees were not adequately exercising these functions and
22
     were causing or permitting the Company to issue false and misleading statements.
23
           173. The 2023 Proxy Statement also failed to disclose that: (i) the Company’s
24
     platformization and consolidation initiatives were not being adopted by customers and
25
     therefore not driving increased market share; (ii) as a result, the Company’s new AI
26
     offerings were not facilitating platformization and consolidation; (iii) the Company needed
27
     to increase platformization, free product offerings, and other incentives to attract new
28
                                                   57
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 1
     customers; (iv) Palo Alto’s high billing growth was not sustainable; (iv) the Company
 2
     could not close deals with the U.S. Federal Government in Fiscal Year 2024; and (v) as a
 3
     result, there was a substantial risk that the Company would be forced to revise Fiscal Year
 4
     2024 expectations.
 5
           174. In the exercise of reasonable care, the Individual Defendants should have
 6
     known that by misrepresenting or failing to disclose the foregoing material facts, the
 7
     statements contained in the 2023 Proxy Statement were materially false and misleading.
 8
     The misrepresentations and omissions were material to Plaintiff in voting on the matters
 9
     set forth for shareholder determination in the 2023 Proxy Statement, including but not
10
     limited to the election of the Company’s directors and the approval of an amendment to
11
     the 2021 Incentive Plan to increase the number of shares reserved for issuance under the
12
     2021 Incentive Plan.
13
           175. As a result of the material misstatements and omissions contained in the 2023
14
     Proxy Statement, Company shareholders reelected Defendant to the Board, allowing them
15
     to continue breaching their fiduciary duties to Palo Alto.
16
           176. As a result of the material misstatements and omissions contained in the 2023
17
     Proxy Statement, Company shareholders reelected Defendants Arora, Bawa, Eschenbach,
18
     and Twohill to the Board, thus allowing them to continue breaching their fiduciary duties
19
     to the Company and approved an amendment to the 2021 Incentive Plan that increased the
20
     number of shares reserved for issuance under the 2021 Incentive Plan.
21
           177. The Company was damaged as a result of the Individual Defendants’ material
22
     misrepresentations and omissions in the 2023 Proxy Statement.
23
           178. Plaintiff, on behalf of Palo Alto, has no adequate remedy at law.
24
                                      SECOND CLAIM
25             Against the Individual Defendants for Breach of Fiduciary Duties
26         179. Plaintiff incorporates by reference and realleges each and every allegation set
27   forth above, as though fully set forth herein.
28
                                                  58
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 1
            180. Each Individual Defendant owed to the Company the duty to exercise candor,
 2
     good faith, and loyalty in the management and administration of Palo Alto’s business and
 3
     affairs.
 4
            181. Each of the Individual Defendants violated and breached their fiduciary duties
 5
     of candor, good faith, loyalty, reasonable inquiry, oversight, and supervision.
 6
            182. The Individual Defendants’ conduct set forth herein was due to their
 7
     intentional or reckless breach of the fiduciary duties they owed to the Company, as alleged
 8
     herein. The Individual Defendants intentionally or recklessly breached or disregarded their
 9
     fiduciary duties to protect the rights and interests of Palo Alto.
10
            183. In breach of their fiduciary duties owed to Palo Alto, the Individual
11
     Defendants willfully or recklessly made and/or caused the Company to make false and/or
12
     misleading statements and/or omissions of material fact that failed to disclose, inter alia,
13
     that: (i) the Company’s platformization and consolidation initiatives were not being
14
     adopted by customers and therefore not driving increased market share; (ii) as a result, the
15
     Company’s new AI offerings were not facilitating platformization and consolidation; (iii)
16
     the Company needed to increase platformization, free product offerings, and other
17
     incentives to attract new customers; (iv) Palo Alto’s high billing growth was not
18
     sustainable; (iv) the Company could not close deals with the U.S. Federal Government in
19
     Fiscal Year 2024; and (v) as a result, there was a substantial risk that the Company would
20
     be forced to revise Fiscal Year 2024 expectations.
21
            184. In further breach of their fiduciary duties, the Individual Defendants failed to
22
     correct and/or caused the Company to fail to correct the false and/or misleading statements
23
     and/or omissions of material fact referenced herein, which renders them personally liable
24
     to the Company for breaching their fiduciary duties.
25
            185. Also, in breach of their fiduciary duties, the Individual Defendants caused the
26
     Company to fail to maintain internal controls.
27
            186. In yet further breach of their fiduciary duties, during the Relevant Period,
28
                                                   59
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 1
     seven of the Individual Defendants engaged in lucrative insider sales, netting proceeds of
 2
     over $265.2 million.
 3
           187. The Individual Defendants had actual or constructive knowledge that the
 4
     Company issued materially false and misleading statements, and they failed to correct the
 5
     Company’s public statements and representations. The Individual Defendants had actual
 6
     knowledge of the misrepresentations and omissions of material facts set forth herein, or
 7
     acted with reckless disregard for the truth, in that they failed to ascertain and to disclose
 8
     such facts, even though such facts were available to them. Such material misrepresentations
 9
     and omissions were committed knowingly or recklessly and for the purpose and effect of
10
     artificially inflating the price of Palo Alto’s securities.
11
            188. The Individual Defendants had actual or constructive knowledge that they had
12
     caused the Company to improperly engage in the fraudulent scheme set forth herein and to
13
     fail to maintain internal controls. The Individual Defendants had actual knowledge that the
14
     Company was engaging in the fraudulent scheme set forth herein, and that internal controls
15
     were not adequately maintained, or acted with reckless disregard for the truth, in that they
16
     caused the Company to improperly engage in the fraudulent scheme and to fail to maintain
17
     adequate internal controls, even though such facts were available to them. Such improper
18
     conduct was committed knowingly or recklessly and for the purpose and effect of
19
     artificially inflating the price of Palo Alto’s securities. The Individual Defendants, in good
20
     faith, should have taken appropriate action to correct the scheme alleged herein and to
21
     prevent it from continuing to occur.
22
            189. These actions were not a good-faith exercise of prudent business judgment to
23
     protect and promote the Company’s corporate interests.
24
            190. As a direct and proximate result of the Individual Defendants’ breaches of
25
     their fiduciary obligations, Palo Alto has sustained and continues to sustain significant
26
     damages. As a result of the misconduct alleged herein, the Individual Defendants are liable
27
     to the Company.
28
                                                    60
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 1
           191. Plaintiff, on behalf of Palo Alto, has no adequate remedy at law.
 2
                                       THIRD CLAIM
 3                     Against Individual Defendants for Unjust Enrichment
 4         192. Plaintiff incorporates by reference and realleges each and every allegation set
 5   forth above, as though fully set forth herein.
 6         193. By their wrongful acts, violations of law, and false and misleading statements
 7   and omissions of material fact that they made and/or caused to be made, the Individual
 8   Defendants were unjustly enriched at the expense of, and to the detriment of, Palo Alto.
 9         194. The Individual Defendants either benefitted financially from the improper
10   conduct, or received bonuses, stock options, or similar compensation from Palo Alto that
11   was tied to the performance or artificially inflated valuation of Palo Alto, or received
12   compensation or other payments that were unjust in light of the Individual Defendants’ bad
13   faith conduct. This includes lavish compensation, benefits, and other payments provided
14   to the Individual Defendants who breached their fiduciary duties to the Company.
15         195. Plaintiff, as a shareholder and a representative of Palo Alto, seeks restitution
16   from the Individual Defendants and seeks an order from this Court disgorging all profits,
17   including from insider transactions, the redemption of preferred stock, benefits, and other
18   compensation, including any performance-based or valuation-based compensation,
19   obtained by the Individual Defendants due to their wrongful conduct and breach of their
20   fiduciary and contractual duties.
21         196. Plaintiff, on behalf of Palo Alto, has no adequate remedy at law.
22                                     FOURTH CLAIM
23                     Against Individual Defendants for Abuse of Control
24         197. Plaintiff incorporates by reference and realleges each and every allegation set
25   forth above, as though fully set forth herein.
26         198. The Individual Defendants’ misconduct alleged herein constituted an abuse of
27   their ability to control and influence Palo Alto, for which they are legally responsible.
28
                                                  61
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 1
           199. As a direct and proximate result of the Individual Defendants’ abuse of
 2
     control, Palo Alto has sustained significant damages. As a result of the misconduct alleged
 3
     herein, the Individual Defendants are liable to the Company.
 4
           200. Plaintiff, on behalf of Palo Alto, has no adequate remedy at law.
 5
                                       FIFTH CLAIM
 6                 Against Individual Defendants for Gross Mismanagement
 7         201. Plaintiff incorporates by reference and realleges each and every allegation set
 8   forth above, as though fully set forth herein.
 9         202. By their actions alleged herein, the Individual Defendants, either directly or
10   through aiding and abetting, abandoned and abdicated their responsibilities and fiduciary
11   duties with regard to prudently managing the assets and business of Palo Alto in a manner
12   consistent with the operations of a publicly held corporation.
13         203. As a direct and proximate result of the Individual Defendants’ gross
14   mismanagement and breaches of duty alleged herein, Palo Alto has sustained and will
15   continue to sustain significant damages.
16         204. As a result of the misconduct and breaches of duty alleged herein, the
17   Individual Defendants are liable to the Company.
18         205. Plaintiff, on behalf of Palo Alto, has no adequate remedy at law.
19                                     SIXTH CLAIM
20               Against Individual Defendants for Waste of Corporate Assets
21         206. Plaintiff incorporates by reference and re-alleges each and every allegation set
22   forth above, as though fully set forth herein.
23         207. The Individual Defendants caused the Company to pay the Individual
24   Defendants excessive salaries and fees, to the detriment of the shareholders and the
25   Company.
26         208. As a result of the foregoing, and by failing to properly consider the interests
27   of the Company and its public shareholders, the Individual Defendants have caused Palo
28
                                                  62
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 1
     Alto to waste valuable corporate assets, to incur many millions of dollars of legal liability
 2
     and/or costs to defend unlawful actions, to engage in internal investigations, and to lose
 3
     financing from investors and business from future customers who no longer trust the
 4
     Company and its products.
 5
           209. As a result of the waste of corporate assets, the Individual Defendants are each
 6
     liable to the Company.
 7
           210. Plaintiff, on behalf of Palo Alto, has no adequate remedy at law.
 8
                                   SEVENTH CLAIM
 9    Against Defendants Arora, Golechha, and Klarich for Contribution Under Section
                            10(b) and 21D of the Exchange Act
10
11         211. Plaintiff incorporates by reference and realleges each and every allegation set
12   forth above, as though fully set forth herein.
13         212. Palo Alto and Defendants Arora, Golechha, and Klarich are named as
14   defendants in the Securities Class Actions, which asserts claims under the federal securities
15   laws for violations of Sections 10(b) and 20(a) of the Exchange Act, and SEC Rule 10b-5
16   promulgated thereunder. If and when the Company is found liable in the Securities Class
17   Actions for these violations of the federal securities laws, the Company’s liability will be
18   in whole or in part due to Defendant Arora’s, Defendant Golechha’s, and Defendant
19   Klarich’s willful and/or reckless violations of their obligations as officers and/or directors
20   of the Company.
21         213. Defendants Arora, Golechha, and Klarich, because of their positions of
22   control and authority as officers and/or directors of the Company, were able to and did,
23   directly and/or indirectly, exercise control over the business and corporate affairs of the
24   Company, including the wrongful acts complained of herein and in the Securities Class
25   Actions.
26         214. Accordingly, Defendants Arora, Golechha, and Klarich are liable under 15
27   U.S.C. § 78j(b), which creates a private right of action for contribution, and Section 21D
28   of the Exchange Act, 15 U.S.C. § 78u-4(f), which governs the application of a private right
                                                  63
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 1
     of action for contribution arising out of violations of the Exchange Act.
 2
           215. As such, Palo Alto is entitled to receive all appropriate contribution or
 3
     indemnification from Defendants Arora, Golechha, and Klarich.
 4
                                       PRAYER FOR RELIEF
 5
 6         FOR THESE REASONS, Plaintiff demands judgment in the Company’s favor
 7   against all Individual Defendants as follows:
 8                (a)     Declaring that Plaintiff may maintain this action on behalf of Palo Alto,
 9   and that Plaintiff is an adequate representative of the Company;
10                (b)     Declaring that the Individual Defendants have breached and/or aided
11   and abetted the breach of their fiduciary duties to Palo Alto;
12                (c)     Determining and awarding to Palo Alto the damages sustained by it as
13   a result of the violations set forth above from each of the Individual Defendants, jointly
14   and severally, together with pre-judgment and post-judgment interest thereon;
15                (d)     Directing Palo Alto and the Individual Defendants to take all necessary
16   actions to reform and improve Palo Alto’s corporate governance and internal procedures
17   to comply with applicable laws and to protect Palo Alto and its shareholders from a repeat
18   of the damaging events described herein, including, but not limited to, putting forward for
19   shareholder vote the following resolutions for amendments to the Company’s Bylaws
20   and/or Certificate of Incorporation and the following actions as may be necessary to ensure
21   proper corporate governance policies:
22                      1. a proposal to strengthen the Board’s supervision of operations and
23             develop and implement procedures for greater shareholder input into the
24             policies and guidelines of the Board;
25                      2. a provision to permit the shareholders of Palo Alto to nominate at
26             least six candidates for election to the Board;
27                      3. a proposal to ensure the establishment of effective oversight of
28             compliance with applicable laws, rules, and regulations;
                                                   64
                              Verified Shareholder Derivative Complaint
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 1
                   (e)      Awarding Palo Alto restitution from Individual Defendants, and each
 2
                 of them;
 3
                   (f)      Awarding Plaintiff, the costs and disbursements of this action,
 4
     including reasonable attorneys’ and experts’ fees, costs, and expenses; and
 5
                   (g)      Granting such other and further relief as the Court may deem just and
 6
     proper.
 7
                                     JURY TRIAL DEMANDED
 8
     Plaintiff hereby demands a trial by jury.
 9
10
        Dated: May 15, 2024                        Respectfully submitted,
11
                                                   THE BROWN LAW FIRM, P.C.
12
13                                                 /s/Robert C. Moest
                                                   Robert C. Moest, Of Counsel, SBN 62166
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19                                                 Timothy Brown
20                                                 767 Third Avenue, Suite 2501
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22                                                 Facsimile: (516) 344-6204
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23
                                                   Counsel for Plaintiff
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                                                    65
                               Verified Shareholder Derivative Complaint
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                                         VERIFICATION

         I, Kenneth Blevins, am a plaintiff in the within action. I have reviewed the allegations made
 in this Shareholder Derivative Complaint, know the contents thereof, and authorize its filing. To
 those allegations of which I have personal knowledge, I believe those allegations to be true. As to
 those allegations of which I do not have personal knowledge, I rely upon my counsel and their
 investigation and believe them to be true.

        I declare under penalty of perjury that the foregoing is true and correct. Executed this
14__ day of May, 2024.




                                ______________________
                                Kenneth Blevins




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